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                                  ID #:1066


1    Larry Zerner (SBN 155473)
     Law Office of Larry Zerner
2    1801 Century Park East
     Suite 2400
3    Los Angeles, California 90067
     Telephone: (310) 773-3623
4    Email: larry@zernerlaw.com
5    Attorney for Defendants Mitchell Clout
     And Koil Content Creation Pty Ltd.
6

7                           UNITED STATES DISTRICT COURT
8                        CENTRAL DISTRICT OF CALIFORNIA
9                                        )
     THAT ONE VIDEO                      ) Case No. 2:23-CV-02687 SVW
10   ENTERTAINMENT, LLC, a California ) (JCx)
     limited liability company,          )
11                                       ) Hon. Stephen V. Wilson
                             Plaintiff,  )
12                                       ) DECLARATION OF KEITH L.
            v.                           ) COOPER IN SUPPORT OF
13                                       ) DEFENDANTS MOTION FOR
     KOIL CONTENT CREATION PTY           ) ATTORNEY’S FEES; EXHIBIT
14   LTD., an Australian proprietary     )
     limited company doing business as   ) [Filed or lodged concurrently
15   NOPIXEL; MITCHELL CLOUT, an         ) herewith: (1) Notice of Motion and
     individual; and DOES 1-25,          ) Motion; (2) [Proposed] Order; and
16   inclusive,                          ) (3) Larry Zerner Declaration.]
                             Defendants. )
17                                       )
                                         ) Date: December 9, 2024
18                                       ) Time: 1:30pm
                                         ) Place: Courtroom 10A
19                                       )
                                         ) Action Filed: April 10, 2023
20                                       ) Trial Date: Not Set
                                         )
21                                       )
                                         )
22

23

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                                              -1–
        DECLARATION OF KEITH L. COOPER IN SUPPORT OF DEFENDANTS
                     MOTION FOR ATTORNEY’S FEES
Case 2:23-cv-02687-SVW-JC     Document 75-2 Filed 11/07/24        Page 2 of 113 Page
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1                        DECLARATION OF KEITH L. COOPER
2
          I, Keith L. Cooper, declare as follows:
3
          1.      I am an attorney duly admitted to practice before this Court. I am a
4
     partner with Cooper & Iravani, LLP, attorneys for Defendants Koil Content
5
     Creation Pty. Ltd. and Mitchell Clout (collectively, the “Defendants”). I have
6
     personal knowledge of the facts set forth herein and if called as a witness, I could
7
     and would competently testify to them.
8
          2.      I am submitting this declaration in support of Defendants Motion for
9
     Attorney's Fees (the “Fee Motion”).
10
                                    Pre-Litigation History
11
          3.      Defendants first learned of Plaintiff’s claims on January 9, 2023, when
12
     Plaintiff’s Counsel sent a pre-litigation demand letter on behalf of Daniel Tracey
13
     (not Plaintiff TOVE). This letter demanded that Defendants "cease and desist" from
14
     making allegedly defamatory statements about Tracey. Notably, there was no
15
     mention of copyright infringement. Instead, the letter requested Defendants to: “(1)
16
     immediately remove any and all defamatory statements still residing online; (2)
17
     publish statements on behalf of NoPixel and yourself, individually, retracting the
18
     allegation that Mr. Tracey caused a data breach; (3) cease and desist from any
19
     further statements or actions online that would support or otherwise advance the
20

21
     false claim that Mr. Tracey caused a data breach; and (4) provide our office with

22
     written assurance of your completion of the above items within 5 days of the date of

23
     receipt of this correspondence.” A true and correct copy of this letter is attached as

24
     Exhibit 1.

25
          4.      By letter dated January 23, 2023, Defendants’ counsel sent Plaintiff’s

26
     counsel a detailed response addressing Plaintiff’s claims—particularly those related

27
     to IP ownership—and explaining why these claims were without merit. Defendants

28
     informed Plaintiff that, under the NoPixel Server’s Terms of Service, which Mr.

                                                2
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1    Tracey agreed to on April 22, 2020, any contributions made by Mr. Tracey were
2
     subject to a non-exclusive, irrevocable license granted to NoPixel. Defendants
3
     further noted in this letter that Plaintiff’s ownership claims conflicted with
4
     established copyright principles, as ideas and concepts are not copyrightable under
5
     Section 102 of the U.S. Copyright Act. Additionally, Defendants pointed out the
6
     lack of evidence supporting Plaintiff's assertion that a third-party company held
7
     ownership over Mr. Tracey’s contributions. Defendants urged Plaintiff’s counsel to
8
     consider their obligations under Rule 11 of the Federal Rules of Civil Procedure
9
     before pursuing further action. A true and correct copy of this January 23, 2023
10
     response letter is attached hereto as Exhibit 2.
11
          5.     Following the January 23rd letter, and unsatisfied with Defendants’
12
     response, Plaintiff’s counsel wrote again, this time alleging “copyright
13
     infringement” and indicating representation of both Plaintiff TOVE and Mr. Tracey.
14
     However, Plaintiff’s counsel merely “renewed” Tracey’s initial demand to retract
15
     the allegedly defamatory statement. A true and correct copy of this correspondence
16
     is attached hereto as Exhibit 3.
17
          6.     Despite introducing a copyright infringement allegation, Plaintiff’s
18
     counsel continued to request the same relief: retraction of the statement. See Exhibit
19
     3. This suggests that the copyright infringement claim may have been introduced
20
     solely to prompt Defendants to retract the statement that TOVE and Tracey
21
     considered defamatory.
22
          7.     On April 10, 2023, Plaintiff filed a Complaint in the United States
23
     District Court for the Central District of California, this time solely representing
24
     TOVE and asserting three causes of action, with Mr. Zerner subsequently engaged
25
     as lead litigator and Of Counsel.
26
                     The Reasonableness of the Hourly Rates Charged
27

28


                                                3
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1         8.     Defendants’ counsel consistently staffed this matter with the original
2
     team since day one of pre-litigation, maintaining continuity and efficiency
3
     throughout the litigation. The legal team comprised of partner, Keith Cooper and
4
     associate Katayoon Iravani, with Larry Zerner as the lead litigator. This small but
5
     dedicated team handled all aspects of the defense from start to finish, ensuring cost-
6
     effective management despite the demands and complexity of the case.
7
          9.     I have 30 years of experience in intellectual property and litigation,
8
     having previously served as a partner at Morrison Cooper LLP and Morrison
9
     Rothman LLP, and currently as a partner at Cooper & Iravani, LLP. I am admitted
10
     to practice in California. I have been involved in this matter since its inception in
11
     January 2023, initially overseeing pre-litigation efforts and working alongside Mr.
12
     Zerner and Ms. Iravani when the case phased into litigation. I contributed my
13
     expertise in intellectual property and litigation while directly supervising our team.
14
     Although my average billing rate was $525 per hour, I did not bill for many of my
15
     contributions, underscoring my commitment to efficient case management. My
16
     initials, “KC,” appear on the time records, which are accurately noted in the
17
     attached invoices. A true and correct copy of all invoices related to this matter, not
18
     including the time spent in preparing this Fee Motion is attached as Exhibit 4.
19
          10.    Defendants’ lead counsel, Larry Zerner, is a seasoned attorney with 33
20
     years of experience in entertainment and intellectual property litigation, admitted to
21
     practice in California. He serves as Of Counsel to Cooper & Iravani, LLP, and
22
     formerly with the firms Morrison Cooper LLP and Morrison Rothman LLP. His
23
     expertise and experience have been invaluable to the defense of this matter, as he
24
     provided strategic oversight on all litigation phases. Mr. Zerner applied his standard
25
     billing rate of $525 per hour. As Of Counsel at Morrison Cooper LLP and Morrison
26
     Rothman LLP, Mr. Zerner would submit invoices from his law practice, which the
27
     firm administrators and paralegals would then incorporate into the firm’s invoices,
28


                                                4
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                                     ID #:1070


1    issued on the firm’s letterhead and inputted with their names. For the avoidance of
2
     doubt, the descriptions for the billing entries also reflect Mr. Zerner’s name and
3
     time.
4
             11.   Katayoon Iravani, currently a third-year associate and a 2019 graduate
5
     of Loyola Law School, was previously with Morrison Cooper LLP (and Morrison
6
     Rothman LLP), and is now with Cooper & Iravani, LLP. Ms. Iravani handled this
7
     matter from the initial pre-litigation discussions with Plaintiff’s counsel through
8
     every stage of litigation, working under the supervision of both Mr. Zerner and
9
     myself. Billing at an average rate of $425 per hour, Ms. Iravani has been actively
10
     involved and integral in defending against Plaintiff’s claims, preparing motions,
11
     discovery, and correspondence throughout the case. Ms. Iravani’s initials on the
12
     billing invoices are “KI.”
13
             12.   Kylie Sanders, whose initials in the invoices are “KS,” performed
14
     majority of the paralegal work for this matter. She managed case files, conducted
15
     thorough document review, and handled essential correspondence at each stage of
16
     the dispute. Other paralegals assisted with research and investigative tasks;
17
     however, Ms. Sander’s substantial contributions were integral to our defense
18
     strategy.
19
             13.   Prior to drafting this declaration, I researched the hourly rates charged
20
     by partners, associates, and paralegals with comparable experience and expertise at
21
     similar law firms in the Los Angeles area. I also reviewed recent fee declarations
22
     filed in federal cases through PACER, including relevant court decisions from this
23
     court, the Central District of California.
24
             14.   Based on these standards, and the reasons mentioned above, the hourly
25
     rates charged by our team—including myself, Ms. Iravani, and lead litigator Mr.
26
     Zerner—are reasonable and consistent with prevailing rates for attorneys with
27
     comparable experience in the region.
28


                                                  5
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1         15.    Given this market research, I believe in good faith that our team’s
2
     customary rates for this matter are reasonable and align with the standard billing
3
     practices in the Los Angeles legal community for attorneys at similar levels and
4
     with comparable expertise.
5
                                   Summary of Time Spent
6

7         16.    In support of this Fee Motion, I attached as Exhibit 4 a true and

8    accurate account of all time billed by the firms for this matter from January 2023

9    through October 2024, excluding time spent preparing this Fee Motion.

10        17.    Time entries were redacted solely to preserve the confidentiality of

11   attorney-client privileged communications and attorney work product. Each entry

12   outlines the services provided, identifies the responsible attorney, specifies the

13   hourly rate billed to Defendants, and records the time dedicated to each task. We

14   ensured there was no duplication of effort or “double billing” for the same work.

15   Exhibit 4 substantiates Defendants' request for $222,183.42 in attorneys' fees,

16   excluding the time spent on this Fee Motion, and Defendants reserve the right to
17   adjust this amount as necessary.
18        18.    There is no question that Defendants’ counsel expended a significant
19   amount of time defending against Plaintiff’s claims from January 2023 (when
20   Plaintiff first asserted its claims) through October 24, 2024 (when the Court granted
21   and entered the MSJ). Over the duration of this period, Defendants’ counsel billed
22   the following aggregate hours:
23

24

25

26

27

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                                                6
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                                    ID #:1072


1          19.   In support of this Fee Motion, I attached hereto as Exhibit 5 a true and
2
     accurate account of all recoverable costs that our firms billed in connection with this
3
     matter from its inception in January 2023 through October 2024, not including any
4
     costs incurred in preparing this Fee Motion. The costs comprise, among other
5
     things, (i) parking, (ii) PACER charges, (iii) FedEx charges associated with service
6
     of court filings, (iv) fees paid to a court reporter service for court reporting and
7
     transcriptions in connection with the four depositions taken in discovery, (v) expert
8
     witness retention and supplemental costs, and (vi) FedEx charges associated with
9
     subpoenas. The total costs billed to the client are: $43,917.24.
10
           20.   Defendant incurred approximately $10,395.00 in fees related to
11
     researching, drafting, and finalizing this Fee Motion and its supporting papers,
12
     including the declaration and attached exhibits prepared by myself and Ms. Iravani.
13
     To date, Mr. Zerner has expended approximately 2.8 hours, I expended
14
     approximately 12.2 hours and Ms. Iravani expended approximately 16.7 hours in
15
     preparing this Fee Motion and supporting documentation. This results in a total
16
     request of $232,578.42 in attorneys’ fees and costs for this litigation from inception
17
     through the preparation and filing of this Fee Motion.
18

19
           I declare under penalty of perjury that the foregoing is true and correct. This
20

21
     declaration was executed on November 7, 2024, in Los Angeles, California.

22

23                                           By: /s/Keith Cooper
24                                               Keith L. Cooper
25

26

27

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                                                 7
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         EXHIBIT 1
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                                         ID #:1074
                                                                               12100 Wilshire Blvd., Suite 800
                                                                               Los Angeles, CA 90025
                                                                               Tel: 310.230.5580
                                                                               Fax: 562.275.8954
                                                                               www.AltViewLawGroup.com



                   CONFIDENTIAL SETTLEMENT COMMUNICATION

                                          January 9, 2023

Via E-Mail

Mitchell Clout
koiltwitch@gmail.com


       RE:     Demand To Immediately Cease and Desist

Mr. Clout:

        Our office has been retained as litigation counsel to Danny “DW” Tracey, regarding
various false and defamatory statements you have made about him both individually and via the
Grand Theft Auto V (the “Game”) role-play server entitled “NoPixel” (the “NoPixel Server”).
Accordingly, and pursuant to the California Civil Discovery Act, you are hereby on notice of
potential litigation against you, and are therefore required to preserve, and not destroy, conceal, or
alter, any communications or documents relevant to this matter. Additionally, please direct all
further communications concerning this matter to the undersigned.

        As you know, Mr. Tracey is a software engineer who serves as Lead Developer for the
media production company That One Video Entertainment, LLC (the “Company”). We are aware
that, in or about early 2020, you granted Mr. Tracey access to the NoPixel Server to work with
him on developing code therefore, and that a significant portion of the code developed for the most
recent version of the Game, as played on the NoPixel Server, derives from Mr. Tracey’s proprietary
ideas, concepts and labor. As you also know, Mr. Tracey has gained significant notoriety from
streaming his Game interactions on the NoPixel Server via Twitch, where Mr. Tracey has amassed
approximately 245,000 followers.

         It has come to our attention that, on or about December 28, 2022, you inexplicably removed
Mr. Tracey from the NoPixel Server and community, which removal was visible to all other
community members. Thereafter, you caused the NoPixel Server to issue a demonstrably false
statement that a “former NoPixel employee” had allegedly caused a data breach. Following such
public statement, you also made further false statements in your personal capacity to the NoPixel
staff, as well as the general public via Twitch (collectively, the “Defamatory Statements”), which
directly identified Mr. Tracey as the “former NoPixel employee” responsible for the alleged data
breach.




                                              MC 0074
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         Please be advised that the Defamatory Statements are objectively and provably false, as
 Mr. Tracey was never an employee of NoPixel, and could not have caused a data breach based on
 the authority Mr. Tracey had been granted to him as a developer of the Game on the NoPixel
 Server. Indeed, Mr. Tracey was not an employee of NoPixel because he is already gainfully
 employed as Lead Developer for the Company. It should also be noted that, given the terms of Mr.
 Tracey’s employment with the Company, all of Mr. Tracey’s contributions to the most recent
 version of the Game, as it exists on the NoPixel Server, is owned exclusively by the Company and
 entitles the Company to a claim for all such IP.

        Given that the Defamatory Statements are false, and therefore tend to subject Mr. Tracey
 to public hatred, ridicule and/or contempt, all of such Defamatory Statements constitute
 defamation per se, and subject you to liability under California law. See Bartholomew v. YouTube,
 LLC (2017) 17 Cal.App.5th 1217, 1232. The harm to Mr. Tracey’s reputation as a software
 engineer and game developer is significant, given the serious nature of the accusation leveled
 against him. Mr. Tracey has also lost significant streaming revenue since being unjustifiably
 removed from the NoPixel Server and community.

        Accordingly, we hereby demand that you: (1) immediately remove any and all Defamatory
 Statements still residing online; (2) publish statements on behalf of NoPixel and yourself,
 individually, retracting the allegation that Mr. Tracey caused a data breach; (3) cease and desist
 from any further statements or actions online that would support or otherwise advance the false
 claim that Mr. Tracey caused a data breach; and (4) provide our office with written assurance of
 your completion of the above items within 5 days of the date of receipt of this correspondence.

         Failure to timely comply with all of the above will leave our office with no choice but to
 proceed more formally against you to recover damages incurred by Mr. Tracey. In such an action,
 you may also be held liable for Mr. Tracey’s attorneys’ fees and costs incurred in pursuit of such
 damages. And, in the likely event that a judgement is entered against you, our office will not
 hesitate to proceed to enforce said judgment against your personal assets until the judgment,
 including all post-judgement interest, is satisfied in full.

          Please understand that this law firm does not attempt to restrict constitutionally protected
 truthful statements, or statements of opinion. However, your actions in making demonstrably false
 statements about Mr. Tracey online have caused damage to his professional reputation and will
 result in significant and quantifiable monetary harm to Mr. Tracey if our demands set forth herein
 are not timely met. We trust that you understand the serious nature of this matter and look forward
 to your anticipated cooperation.

        Nothing contained herein or omitted herefrom is intended, nor shall be construed, to
 operate as an admission, limitation, or waiver of any of Mr. Tracey’s rights, remedies or defenses,
 at law and/or in equity, all of which are hereby expressly reserved. Additionally, this letter is a
 legal communication deemed “strictly confidential” and any publication, dissemination, or




                                               MC 0075
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 broadcast of all or any portion of the same will constitute a breach of confidence and a violation
 of the U.S. Copyright Act, and you are therefore expressly prohibited from publishing this letter
 in whole or in part, in a written posting, online video, or via any other means of dissemination.
 Should you have any questions regarding anything contained herein, please do not hesitate to
 contact the undersigned.

                                            Sincerely,




                                   JOHN M. BEGAKIS, ESQ.




                                             MC 0076
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         EXHIBIT 2
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                                              ID #:1078




                                                                                        Katayoon Iravani
                                                                                      Morrison Rothman LLP


January 23, 2023

John M. Begakis
AltView Law Group
12100 Wilshire Blvd., Suite 800
Los Angeles, CA 90025

Sent via email only: john@altviewlawgroup.com

RE: Danny Tracey (“Mr. Tracey”) Allegations and Cease and Desist

CORRESPONDENCE PURSUANT TO CA. EVID. CODE §1152
CORRESPONDENCE PURSUANT TO FRE 408.

Dear Mr. Begakis,

        We appreciate your patience in providing us time to review the claims and allegations raised in
your January 9, 2023 letter. As you are now aware, we represent both Mitchell Clout and Koil Content
Creation PTY LTD (collectively “NoPixel”) in this matter. We had time to review your letter and the
statements made within, and at the outset, it is important to note that your letter fails to include substantial
information and facts to satisfy either a defamation per se claim or defamation per quod claim.
Nonetheless, our intent here is to clarify the facts. Notwithstanding the above, I will address each
allegation in your letter as follows, using the capitalized terms included in your letter:

1. Mr. Tracey’s Relationship with the NoPixel Server and That One Video Entertainment
LLC
        You contended NoPixel “knew” that Mr. Tracey was a “software engineer” who served as a “Lead
Developer” for the company That One Video Entertainment LLC (the “Third-Party Company”). To begin,
there is nothing under the law that restricts any worker from being employed by only one company.
Nonetheless, NoPixel did not “know” that Mr. Tracey was in fact “gainfully employed” by another
company, let alone as a “Lead Developer” for the Third-Party Company. Despite the statements contained
in your letter, Mr. Tracey continuously held himself out to the public as a “NoPixel Developer” without any
mentions of his role at the Third-Party Company, as seen on his Twitter Bio and Twitch Bio. See attached
Exhibit A, screenshot of Mr. Tracey’s Twitter and Twitch Bios screen captured on January 10, 2023.

        Additionally, as recent as August 24, 2022, Mr. Tracey requested NoPixel to permit him to
“leverage” his work on the NoPixel Server in “interviews” without any mentions of his employ with any
other company, including the Third-Party Company. See attached Exhibit B, the August 24th message.
Moreover, Mr. Tracey, participated in various interviews under the guise of a NoPixel developer without
any mentions of his role at the Third-Party Company. In sum, Mr. Tracey continuously held himself out to
the public as a NoPixel Server developer and he never mentioned to NoPixel or anyone else that he was
working for the Third-Party Company at any time.

2. The NoPixel Server Terms of Service, Mr. Tracey’s Alleged Copyright Claims and the
Twitch Streams

Terms of Service



                                                       1
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        You mention Mr. Tracey was “inexplicably removed” from the NoPixel Server. However, NoPixel
is under no legal or factual obligation to explain a removal of a user on the NoPixel Server. In fact, this is
clearly expressed in the NoPixel Terms of Service, which Mr. Tracey acknowledged and agreed to on April
22, 2020. See attached Exhibit C, the NoPixel Terms of Service and Mr. Tracey’s Acceptance. According
to the Terms of Service, users may be removed “with or without cause” and “with or without notice”. See
¶4 of the Terms of Service. Consequently, no further explanation is required. Nevertheless, NoPixel was
justified in removing Mr. Tracey from the server, as discussed further below, when it was discovered that
Mr. Tracey’s IP Address was directly linked to the data breach.

Alleged Copyright Claims
        There are two inconsistent claims in your letter regarding IP ownership. On one hand, you claim
that the alleged ideas and concepts of the Game by Mr. Tracey are his proprietary material, but on the
other hand you claim that all of Mr. Tracey’s contributions are allegedly owned by the Third-Party
Company. These two positions are irreconcilable.

(1) Ideas and concepts are not copyrightable
       To begin, under Section 102 of the U.S. Copyright Act, ideas and concepts are not copyrightable.
Although, the expression of such is. Assuming he offered any opinions or ideas, they are not protectable
under U.S. Copyright law. To be protectable under copyright law, an author must make a creative
contribution.

(2) Creative contribution to the Game
       Even assuming that a creative contribution by Mr. Tracey was made (i.e., not merely ideas and
concepts), there is no evidence that the Third-Party Company owns it. As you are aware, there are two
ways the Third-Party Company would be able to own the derivative works created in the Game: (a) by
employment or (b) a work-for-hire. Thus far, no evidence is presented indicating either, and therefore
the claim lacks evidence.

       Moreover, if there was a creative contribution made, Mr. Tracey expressly granted an irrevocable
license to NoPixel for any and all contributions to the Game. Assuming your client was employed or had
a work-for-hire arrangement, we will leave it to Mr. Tracey to explain to the Third-Party Company why
he granted a license to NoPixel.

(3) IP Ownership Standing
        At this juncture, however, among the factors mentioned above, Mr. Tracey conceded he does not
own his contributions (of which we are not conceding that he did) when he stated the contributions are
owned by the Third-Party Company that he allegedly works for. Therefore, as it currently stands, any
alleged claims for IP ownership will not be further discussed because there is no indication that your
office represents the Third-Party Company.

(4) Mr. Tracey’s Granted License to NoPixel for the alleged creative contributions in the Game
        The NoPixel Server Terms of Service clearly indicates that each user who creates modifications to
the NoPixel Server Game grants a non-exclusive, irrevocable license to NoPixel. Essentially, Mr. Tracey,
similar to that of a NoPixel user, contributed and licensed his work to NoPixel on April 22, 2020.

(5) Copyright and IP Ownership Conclusion
        In sum, ideas and concepts are not copyrightable. There is no evidence presented that the Third-
Party Company owns any of Mr. Tracey’s alleged contributions to the NoPixel Game. Similarly, any
contributions by Mr. Tracey were expressly licensed to NoPixel by Mr. Tracey. Consequently, we are
unclear as to why you are raising any IP and/or copyright issues.

Mr. Tracey’s Twitch Streams
       With regard to Mr. Tracey’s alleged loss of notoriety on Twitch, based on his streaming of the
Game, it is unclear what the claim is. Mr. Tracey’s last Twitch stream was on December 6th, weeks before


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his termination and the data breach. Consequently, Mr. Tracey stopped any activity on Twitch weeks
before his termination and removal from the NoPixel Server.

        In fact, Mr. Tracey exhibited an inconsistent streaming schedule for the last year, and, evidently
struggled maintaining content on Twitch. He expressly stated it was due to reasons other than his removal
from NoPixel. See attached Exhibit D, Mr. Tracey’s September 1, 2022 Tweet. Despite the above, Mr.
Tracey’s access to the NoPixel Server could be removed at any time, without notice and for any reason by
NoPixel under the Terms of Service.

       In sum, any claims related to Mr. Tracey’s loss of notoriety on Twitch, in not playing and/or
streaming the Game, is entirely inconsequential and moot.

3. Mr. Tracey’s Allegations of Defamation based on the alleged Defamatory Statements
        Mr. Tracey’s defamation claims are based on certain statements made by NoPixel and Mr. Clout
regarding the NoPixel Server data breach on December 28th. It is important to note, Mr. Tracey’s legal
name was not directly mentioned and/or identified in any statements, and therefore, Mr. Tracey’s
defamation claim is based on an unsubstantiated inference by others. In order for there to be a valid
defamation by quod claim, Mr. Tracey must establish that people reasonably interpreted and understood
the statement, including his removal from the server, to be that of Mr. Tracey who caused the data breach.
Moreover, Mr. Tracey has not provided any evidence to substantiate his claim and/or damages. Even if he
had, however, truth is an absolute defense, and in this case, NoPixel is aware of the IP Address used in the
data breach, and that IP Address is tied to Mr. Tracey.

         Furthermore, you expressed in your letter that NoPixel allegedly made “objectively and
provably false” statements as a result. Although, the long-standing defamation standard in California
is that a statement must be both false and defamatory, meaning Mr. Tracey would have to show that
both statements are (a) false and (b) defamatory; and that such statements were not true. At this time, Mr.
Tracey fails to establish a defamation claim against NoPixel because the statements made by NoPixel were
true, and not false or defamatory.

       To better understand the factuality of the statements made by NoPixel, it is best to analyze the
statements as follows:

       (1) The “Former Employee Statement”
       This statement is patently trivial as to the alleged falsity of it because it does not change the fact
that Mr. Tracey was contracted by NoPixel to perform certain work on the NoPixel Server. Even if the
statement was false, it is not “objectively and provably” defamatory. While we can debate if Mr. Tracey
was an employee or a contractor, Mr. Tracey fails to explain or identify how the mischaracterization of
his position at NoPixel is defamatory. Absent any demonstrable harm to his reputation, there is no claim
for defamation.

        (2) The “Data Breach” Statement
        On December, 28, 2022, Mr. Tracey was terminated from his position with the NoPixel Server
based on irreconcilable differences. From the investigation, on the date of his termination, Mr. Tracey
abused his access privileges by downloading software to access restricted areas on the NoPixel Server
and, thereby conducting a “data dump.” Mr. Tracey’s unauthorized access to privileged information of all
NoPixel users, amongst other forms of information, constituted a data breach under the law, which had
to be investigated and reported to the public.

       The unauthorized access by Mr. Tracey is evidenced by the stamping of his internet protocol
address (“IP Address”) on the NoPixel Server Authentication Log on December 28th, the day he was
terminated. NoPixel knows that this is Mr. Tracey’s IP Address based on the following: (1) Any IP Address
on the NoPixel Server is captured and stored in live time, (2) Mr. Tracey’s IP Address was captured every
time he accessed the NoPixel Server, regardless of the reason for the access on the server, (3) he


                                                     3
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                                              ID #:1081


 downloaded certain applications in order to override the restricted access to the NoPixel Server
 information, as clearly reflected on the Authorization Log in our possession, and (4) his unauthorized
 access was reviewed and qualified by a NoPixel proficient coder on December 28th.

        As you may be familiar with state and federal laws of the United States and Europe, the GDPR,
 CCPA and FTC require immediate investigation and disclosure to the public and its users for any breach
 of privileged data stored on any server. Despite NoPixel’s reporting requirement, NoPixel endeavored to
 protect Mr. Tracey by not mentioning his name in connection with the data breach. You can understand
 how important user privacy is and why such actions have such severe consequences if and when a
 company does not fully investigate and publicly report it. Accordingly, for NoPixel to be compliant with
 all state, federal and other applicable laws, the disclosure was mandatory after the investigation revealed
 Mr. Tracey was the user who trespassed and thereby obtained information on the NoPixel Server.

4. Defamation Per Se and Defamation Per Quod
       To ensure understanding of Mr. Tracey’s claims under the California defamation per se and
defamation per quod statutes and case law, it is best to understand what is legally required for any
defamation claim.

A. Defamation Per Se regarding the Defamatory Statements
         A statement is defamation per se if it defames the plaintiff on its face, that is, without the need for
extrinsic evidence to explain the statement’s defamatory nature. See Cal. Civ. Code §45(a). An allegation
for a defamatory statement must be “a false and unprivileged publication by writing, printing, picture,
effigy, or other fixed representation to the eye, which exposes any person to hatred, contempt, ridicule, or
obloquy, or which causes him to be shunned or avoided, or which has a tendency to injure him in his
occupation.” See Savage v. Pacific Gas & Elec. Co. (1993). Under California law, defamation per se
requires a reader of the publicized statement to know that it was of that person without the
introduction of any extrinsic evidence. Meaning, a third-party, other than Mr. Tracey and NoPixel,
would have to understand that (a) the statement was about Mr. Tracey and (b) such a statement was
defamatory on its face causing damages to Mr. Tracey’s reputation.

        Here, Mr. Tracey was not directly mentioned, and the words “former employee” were used. While
the removal of Mr. Tracey’s account from the NoPixel Server was visible to the NoPixel community, users
did not correlate or express it to be Mr. Tracey who in fact caused the data breach. Additionally, we are not
aware of any injury to Mr. Tracey’s occupation and/or reputation because as you mentioned, Mr. Tracey
is “gainfully employed” by the Third-Party Company.

        Typically, in the case of defamation per se, a plaintiff would not be required to prove damages.
However, absent any evidence of extreme prejudice, Mr. Tracey may be entitled to only nominal damages.
If Mr. Tracey intends to prove something other than nominal damages, he must prove actual damages to
his reputation, which he fails to do.

B. Defamation Per Quod
        If the statement is defamation per quod, and the defamatory character is not apparent on its face
and requires an explanation of the surrounding circumstances to make its meaning clear (e.g., innuendos),
it is not libelous per se, and is not actionable without a pleading and proof of special
damages. See Tonini v. Cevasco (1896) 114 Cal. 266, 271; See also Smith, supra, 72 Cal.App.4th at
645; Walker v. Kiousis (2001) 93 Cal.App.4th 1432, 1441. To date, Mr. Tracey has not provided any actual
damages, let alone special damages, to his reputation as a result of the alleged statements. Conversely, you
made it clear in your letter that Mr. Tracey is still employed with the Third-Party Company as a “Lead
Developer”, and subsequently, any alleged harm from the statements made by NoPixel would affect his
position with that Third-Party Company, which clearly is not the case.

       Further, contrary to your assertions, a claim for both statements being false and defamatory is
simply a blinded statement. The Authorization Log clearly shows Mr. Tracey unlawfully accessed the


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                                             ID #:1082


NoPixel Server without any authorization, and thereby copied user information hours after his
termination. Although, if Mr. Tracey’s inclination is to pursue a defamation action based on these
stretched out and unsubstantiated statements, it will leave NoPixel with no other choice than to pursue
their available legal and equitable remedies as a result of Mr. Tracey’s data breach. Albeit, if you have any
information and documents showing otherwise, send it to our office for review.

Conclusion
        In conclusion, (1) NoPixel will gladly remove any known statements directly referencing Mr.
Tracey, however none are presently known to exist; (2) NoPixel cannot retract its statement because it is
an absolute true statement that a former employee/contractor caused the data breach, which was reported
as required by law; and (3) we will refrain from directly referring to Mr. Tracey in the future, except in
the case of any external investigation of the data breach.

        This letter is not intended as a complete recitation of the facts or issues. Nothing contained in or
omitted from this letter should be deemed as an admission to any allegations or as a waiver of any rights
or remedies with respect to the subject matter hereof and we expressly reserve all of our client’s rights and
remedies on its behalf. Please understand that this letter is made in the context of settlement discussions
and therefore protected by CA. Evid. Code §1152 AND FRE 408. This letter serves as a notice to preserve
any and all evidence, including but not limited to documents, materials, emails, text messages, and any
other related information, in any form whatsoever, that may potentially be relevant to this subject matter,
or discoverable in any potential action arising from this matter.

Sincerely,

MORRISON ROTHMAN, LLP




By: _____________________
     Katayoon Iravani
     Attorney at Law




cc: Keith Cooper; Sean Ulrich




                                                     5
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                                  ID #:1083




                                  EXHIBIT A
                              Twitch and Twitter Bio




                                        6
Hi
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                                                     ID #:1084




SUBSCRIBE                     DONATE                                          TWITTER               DISCORD


     MUSIC                  PCSPECS                                                ABOUT
             GPU:3080Ti                                      Stream:
             CPU:5900X
                                                               NoPixelDevelopment
             MOBO:ROGSTRIXb550-f
                                                               GTA5/FiveM
                                                               RDR2/RedM
                                                               CompetitiveeSportsroleplay

                                                             Contact:
                                                             DW@28thave.com
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                                  ID #:1085
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                                    ID #:1086



                                     EXHIBIT B
                            8/24/22 DW Message to Mr. Clout




                                          7
Dw08/24/202211:11AM              Case 2:23-cv-02687-SVW-JC   Document 75-2 Filed 11/07/24   Page 22 of 113 Page
                                                                   ID #:1087
myvisatimelinegotfuckedup,there'sa9monthgapwhereIwouldneedtoleavetheUS.we'reapplyingforanewvisatobridgethegap,butit'sa"gifted
individual"one.partoftherequirementsispublicity,youcoolwithmeleveragingmyworkonnopixelandtalkingaboutitininterviewsetc?
Case 2:23-cv-02687-SVW-JC     Document 75-2 Filed 11/07/24         Page 23 of 113 Page
                                    ID #:1088



                                      EXHIBIT C
            NoPixel Server Terms of Service and Mr. Tracey’s Acknowledgement
                                Dated on April 22, 2020




                                           8
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                                                                               ID #:1089




  Home       Donate     Forums !      Public Server Store      S. America Store (Loja da América do Sul)                                          # Log in
                                                                                                                          Spain Store (Tienda de España)                Register

Register




  Welcome Guest, to NoPixel's Website.

  GTA Standard Whitelisting is currently: Closed!

  GTA Donator Whitelisting is currently: Open! (Roughly 14-30 Days)




  Please pay attention to the forums and instructions given, donators still must apply like normal, they are just processed faster. If you do pass the
  application process, it may still take considerable time to join the server.

  The process can be found here: https://www.nopixel.net/upload/index.php?threads/civilian-application-template.116232/


Home ! Help !

Terms and rules

  Help                           The providers ("we", "us", "our") of the service provided by this web site ("Service") are not responsible for any user-
                                 generated content and accounts. Content submitted express the views of their author only.
  Smilies                        This Service is only available to users who are at least 18 years old. If you are younger than this, please do not register for
                                 this Service. If you register for this Service, you represent that you are this age or older.
  BB codes
                                 All content you submit, upload, or otherwise make available to the Service ("Content") may be reviewed by staﬀ members.
  Trophies                       All Content you submit or upload may be sent to third-party verification services (including, but not limited to, spam
                                 prevention services). Do not submit any Content that you consider to be private or confidential.
  Cookie usage
                                 You agree to not use the Service to submit or link to any Content which is defamatory, abusive, hateful, threatening, spam
                                 or spam-like, likely to oﬀend, contains adult or objectionable content, contains personal information of others, risks
  Terms and rules
                                 copyright infringement, encourages unlawful activity, or otherwise violates any laws. You are entirely responsible for the
                                 content of, and any harm resulting from, that Content or your conduct.
  Privacy Policy
                                 We may remove or modify any Content submitted at any time, with or without cause, with or without notice. Requests for
                                 Content to be removed or modified will be undertaken only at our discretion. We may terminate your access to all or any
                                 part of the Service at any time, with or without cause, with or without notice.

                                 You are granting us with a non-exclusive, permanent, irrevocable, unlimited license to use, publish, or re-publish your
                                 Content in connection with the Service. You retain copyright over the Content.

                                 These terms may be changed at any time without notice.

                                 If you do not agree with these terms, please do not register or use the Service. Use of the Service constitutes acceptance
                                 of these terms. If you wish to close your account, please contact us.



Home ! Help !



                                                                                                                              Terms and rules   Privacy policy   Help   Home   "



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                                                                      $ Accept         Learn more…
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                                  ID #:1090
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                                  ID #:1091




                                  EXHIBIT D
                       9/1/22 DW Tweet re Stream Scheduling




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                                  ID #:1092
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                                  ID #:1093




         EXHIBIT 3
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                                           ID #:1094
                                                                                12100 Wilshire Blvd., Suite 800
                                                                                Los Angeles, CA 90025
                                                                                Tel: 310.230.5580
                                                                                Fax: 562.275.8954
                                                                                www.AltViewLawGroup.com



                    CONFIDENTIAL SETTLEMENT COMMUNICATION

                                           February 6, 2023

 Via E-Mail

 Katayoon Iravani, Esq.
 Morrison Rothman LLP
 10900 Wilshire Blvd., Ste. 930
 Los Angeles, CA 90024
 kat@morrisonrothman.com

        RE:     Danney Tracey v. Koil Content Creation PTY LTD, et al.

 Ms. Iravani:

         We are in receipt of your January 23, 2023 correspondence, wherein you attempt to address
 the claims made by way of our initial January 9, 2023 cease and desist letter to your clients Mitchell
 Clout, an individual, and Koil Content Creation PTY LTD (collectively, “NoPixel”). Please allow
 this correspondence to address such response, and serve as a renewal of our demand that NoPixel
 issue a public retraction regarding its false statements about Mr. Tracey. We look forward to your
 prompt attention to this, in light of the fact that your office has now been given time to review the
 contents of our initial correspondence, and the merits of our claims.

        1.      TOVE’s Claim for Copyright Infringement

         First, please be advised that we now represent That One Video Entertainment, LLC, a
 California limited liability company (“TOVE”), with respect to any claims it may have against
 NoPixel for copyright infringement. For reference, Mr. Tracey entered into an employment
 relationship with TOVE on or about October 14, 2021 (the “Employment Agreement”), and it is
 pursuant to this Employment Agreement that TOVE believes it presently possesses a claim for
 ownership of any of Mr. Tracey’s contributions to the development of the Game, as it exists on
 the NoPixel server. Therefore, and as it currently stands now, all claims of IP ownership will be
 discussed hereby in connection with both of our clients’ respective claims against NoPixel.

         While you suggest that Mr. Tracey’s contributions to the NoPixel server were “merely
 ideas and concepts,” you are no doubt aware that one’s contributions to a creative work need only
 contain a “modicum of creativity” to be protectable in and of themselves, and that under such
 standard “even a slight amount will suffice.” Feist Publications, Inc. v. Rural Telephone Service
 Co., 499 U.S. 340 (1991). As set forth in our original correspondence, a significant portion of the
 code developed for the most recent version of the Game, as it exists on the NoPixel Server, derives
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                                                 ID #:1095



 from Mr. Tracey’s creative contributions, which are owned by TOVE. Since it appears that your
 “investigation” has failed to yield such information, we feel compelled to advise that we are in
 possession of multiple git repositories holding all of Mr. Tracey’s contributions to Game, which
 we intend to submit in evidence should litigation of this dispute be necessary.

          Likely understanding the utter disingenuousness of your assertion that Mr. Tracey did not
 provide any creative contributions to the Game, you also contend that whatever Mr. Tracey did
 contribute was perpetually licensed to NoPixel via its user terms of service. However, Mr. Tracey
 did not create a standard user account through the NoPixel website, as evidenced by the fact that
 his account name “Dw” contained too few characters to be registered as a new account through
 the site. Notwithstanding the dubious enforceability of such terms where no action has been taken
 to require users to affirmatively accept the same,1 Mr. Tracey therefore did not accept such user
 terms of service when he joined the NoPixel server.

         Instead, Mr. Tracey’s account was manually created by another member of the NoPixel
 management team because Mr. Tracey was, by your own tacit admission, Lead Developer of the
 Game. Unlike other developers who worked on the NoPixel server, however, Mr. Tracey did not
 sign a Non-Disclosure Agreement or any other type of documentation that would have conveyed
 any rights in his creative contributions to NoPixel. Of course, even if the NoPixel standard user
 terms of service were enforceable here, they provide NoPixel with no cover by way of mandatory
 arbitration or limitation of liability language.

         For all of the foregoing reasons, TOVE believes it possesses significant copyright
 infringement claims, and absolutely intends to bring any such viable claims against NoPixel if Mr.
 Tracey’s reasonable demands brought by way of our initial January 9, 2023 correspondence are
 not met. Unlike Mr. Clout, TOVE is loyal to those who contribute to its success, and is prepared
 to do everything possible to aggressively protect the interests of Mr. Tracey, including by way of
 its own infringement claims, if necessary. TOVE also possesses significant resources that it is not
 afraid to expend to achieve a fair result in this dispute.

          2.       Mr. Tracey’s Claim for Defamation

         With respect to Mr. Tracey’s claim for defamation, you conspicuously avoid our assertion
 of fact that, following NoPixel’s issuance of a false public statement, Mr. Clout made statements
 over Twitch directly identifying Mr. Tracey. This avoidance is telling, and likely results from your
 awareness that defamatory statements, as those made here when coupled with Mr. Clout’s
 statements, can identify another, and therefore be actionable, “either expressly or by clear
 implication…” Blatty v. New York Times Co. (1984) 42 Cal.3d 1033, 1043 (emphasis added).


 1
   “[W]here a website makes its terms of use available via a conspicuous hyperlink on every page of the website but
 otherwise provides no notice to users nor prompts them to take any affirmative action to demonstrate asset, even
 close proximity of the hyper link to relevant buttons users must click on – without more – is insufficient to give rise
 to constructive notice.” Long v. Provide Commerce, Inc. 245 Cal.App.4th 855 (2016).
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                                                ID #:1096



 Accordingly, Mr. Clout’s public statements made in his capacity as NoPixel’s principal, which
 directly identified Mr. Tracey as the “former NoPixel employee” responsible for the alleged data
 breach, create the clear implication that NoPixel’s original public statement refers to Mr. Tracey.

         You also claim that “[o]n December 28, 2022, Mr. Tracey was terminated from his position
 with the NoPixel Server…” Yet, you have provided no evidence that this alleged termination was
 formally made, or that Mr. Tracey even knew such termination had occurred to put him on notice
 that any further access of the NoPixel Server would be unauthorized. That you fail to provide any
 evidence establishing Mr. Tracey’s formal termination and knowledge thereof, is precisely the
 crux of our position that the statements made by NoPixel about Mr. Tracey’s unauthorized access
 to the NoPixel Server were provably false and therefore defamatory.

         We also feel compelled to point out – given that such evidence will be presented in any
 lawsuit brought against NoPixel – that your characterization of NoPixel as merely endeavoring to
 conscientiously and cautiously “be compliant with all state, federal and other applicable laws” is
 in stark contrast to NoPixel’s prior approach to actual data breaches. Indeed, in or about August of
 2022, an individual scraped NoPixel’s APIs using unauthorized credentials and obtained
 personally identifiable information concerning various members of the NoPixel community
 (including, without limitation, emails and twitter handles), yet failed to notify the NoPixel
 community thereof. While our office is in possession of evidence of the breach itself, please also
 be advised that NoPixel has actively deleted Discord communications with Mr. Tracey evidencing
 NoPixel’s intentional and deliberate decision not to notify the NoPixel community of such breach,
 in violation of the California Discovery Act.2

          3.       Conclusion

         Accordingly, your response, while appreciated, has done nothing to address Mr. Tracey’s
 legitimate claims and reasonable demands. If anything, such response has made clear to Mr. Tracey
 – and now TOVE – that NoPixel possesses no legitimate defenses to its wrongdoing, and litigation
 of such conduct may therefore be necessary. Nevertheless, Mr. Tracey’s most important goal
 remains clearing his name, and we therefore hereby renew our demand that NoPixel publish
 statements on behalf of itself and its principal retracting the allegation that Mr. Tracey caused any
 data breach of the NoPixel server.

         Should our office not receive written assurance that such action will be promptly taken
 within 5 days of the date of this correspondence, our office intends to commence litigation
 against both NoPixel and Mr. Clout. In the interim, nothing contained herein or omitted herefrom
 is intended, nor shall be construed, to operate as an admission, limitation, or waiver of any of Mr.
 Tracey’s rights, remedies or defenses, at law and/or in equity, all of which are hereby expressly


 2
  Should this matter proceed to litigation, as appears to be the case, NoPixel’s spoliation of evidence will be
 established, and evidentiary sanctions will be obtained. Williams v. Russ (2008) 167 Cal.App.4th 1215, 1223.
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                                      ID #:1097



 reserved. Should you have any questions regarding anything contained herein, please do not
 hesitate to contact the undersigned.

                                         Sincerely,




                                JOHN M. BEGAKIS, ESQ.
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                                  ID #:1098




         EXHIBIT 4
           Case 2:23-cv-02687-SVW-JC                             Document 75-2 Filed 11/07/24                              Page 34 of 113 Page
                                                                       ID #:1099




       Morrison Cooper LLP                                                                                                                  INVOICE
        10900 Wilshire Blvd.                                                                         Number                                                    4412
        Suite 930
                                                                                                     Issue Date                                           1/31/2023
        Los Angeles, 90024
                                                                                                     Due Date                                             2/28/2023
        accounting@morrisoncooper.com
                                                                                                                          Mitchell Clout - Hourly - Cease and Desist
        morrisoncooper.com                                                                           Matter
                                                                                                                                      Demand Letter Response Draft
        O: (424) 333-9570
                                                                                                     Email


       Bill To:
       Mitchell Clout




       Time Entries

        Time Entries                                                              Billed By                       Rate             Hours                       Sub

        Review/Analyze                                                            Katayoon Iravani                $0.00              0.80                     $0.00
        1/10/2023
        Read the Demand Letter and Client's supporting facts, Reviewed client's
        email thread of facts re Cease and Desist received from DW attorney
        and discussed with Partner; provided client with a receipt of the email
        and proposed a time for call to discuss

        TIME NOT BILLED


        Review/Analyze                                                            Katayoon Iravani              $375.00              0.50                  $187.50
        1/10/2023
        Analysis and Review the Cease and Desist / Defamation claims alleged
        by the opposing attorney for DW and the client's supporting facts
        document in preparation of call with client

        Communicate (with client)                                                 Katayoon Iravani              $375.00              1.00                  $375.00
        1/11/2023
        Call with client to discuss the DW Cease and Desist Letter


        Communicate (with client)                                                 Katayoon Iravani                $0.00              0.20                     $0.00
        1/11/2023
        1-11-23 After Call Summary Email to Client with a list of requested
        documents to provide for the substantive response letter

        TIME NOT BILLED




file                                                                                                                                                           Page 1 of 3
          Case 2:23-cv-02687-SVW-JC                                   Document 75-2 Filed 11/07/24 Page 35 of 113 Page
       Time Entries                                                         ID Billed
                                                                               #:1100 By        Rate  Hours          Sub

       Review/Analyze                                                               Katayoon Iravani   $375.00   0.40    $150.00
       1/17/2023
       Review and synthesize the raised legal claims in 1.9.23 Demand Letter
       in relation to client's provided information sent on 1.16.23


       Review/Analyze                                                               Katayoon Iravani   $375.00   1.30    $487.50
       1/18/2023
       Review of NoPixel Terms of Service and review of all the screenshots
       provided by client, including the various chats provided in preparation of
       the response letter after the analysis of the legal claims and case law
       cited in the demand letter


       Draft/Revise                                                                 Katayoon Iravani   $375.00   1.00    $375.00
       1/18/2023
       Prepared the roadmap and outline of the substantive response letter to
       OPC re DW claims and allegations


       Draft/Revise                                                                 Katayoon Iravani   $375.00   4.30   $1,612.50
       1/19/2023
       Draft Demand Letter re Defamation and Cease and Desist and finalize
       version 1 for senior counsel's review


       Review/Analyze                                                               Katayoon Iravani     $0.00   1.00      $0.00
       1/20/2023
       Review Senior Counsel edits and suggestions for revisions re certain
       sections of the letter pertained to copyright and defamation

       TIME NOT BILLED


       Draft/Revise                                                                 Katayoon Iravani     $0.00   1.70      $0.00
       1/20/2023
       Revise headers 1-4 in the substantive response letter (V2 draft)
       pursuant to senior counsel's review and edits

       REVISED TO $0 FOR HEADER REVISIONS


       Review/Analyze                                                               Katayoon Iravani   $375.00   2.50    $937.50
       1/23/2023
       Revise version 3 of the letter after Partner's initial review of the draft
       response


       Review/Analyze                                                               Katayoon Iravani     $0.00   2.40      $0.00
       1/23/2023
       Review of Version 3 of the draft response letter to OPC re DW
       defamation claims with Partner

       TIME NOT BILLED


       Draft/Revise                                                                 Katayoon Iravani   $375.00   1.00    $375.00
       1/23/2023
       Revise the draft response (V4) after client's feedback to the comment
       bubbles and after disclosing the DW disclosure by name on the live
       stream and reworking argument based on that feedback


       Time                                                                         Katayoon Iravani     $0.00   0.60      $0.00
       1/23/2023
       Final review of V5 of the draft response, with client feedback
       incorporated, with Partner; assembled exhibits

       TIME NOT BILLED




file                                                                                                                         Page 2 of 3
           Case 2:23-cv-02687-SVW-JC                                  Document 75-2 Filed 11/07/24 Page 36 of 113 Page
        Time Entries                                                        ID Billed
                                                                               #:1101 By        Rate  Hours          Sub

        Time                                                                       Keith Cooper             $575.00             1.10     $632.50
        1/23/2023
        Analysis and review of initial draft of response letter, review of legal
        arguments and factual assertions, prepare revised draft of letter

        TIME REDUCED BY 50% FROM 2.2 TO 1.1


        Communicate (with client)                                                  Katayoon Iravani         $375.00             0.20      $75.00
        1/24/2023
        Response email to client's 1-24-23 email re the response letter packet
        sent to OPC on 1-23-23


                                                                                                       Time Entries            20.00    $5,207.50
                                                                                                              Total




                                                                                                                  Total (USD)          $5,207.50

                                                                                                        Payment 7324 2/27/2023         $-3,207.50

                                                                                                        Payment 7422 3/23/2023         $-2,000.00

                                                                                                                      Balance              $0.00

                                                                                                             Total Outstanding             $0.00




       Wire Information:




       Please email accounting@morrisonrothman.com with a confirmation number once the wire has been initiated.




       Trust Account Balance

        Date                               Item                                                                       Amount             Balance


        10/4/2024                         Current Balance                                                                                  $0.00




file                                                                                                                                         Page 3 of 3
           Case 2:23-cv-02687-SVW-JC                             Document 75-2 Filed 11/07/24                            Page 37 of 113 Page
                                                                       ID #:1102




       Morrison Cooper LLP                                                                                                                INVOICE
        10900 Wilshire Blvd.                                                                       Number                                                    4510
        Suite 930
                                                                                                   Issue Date                                           2/28/2023
        Los Angeles, 90024
                                                                                                   Due Date                                             3/28/2023
        accounting@morrisoncooper.com
                                                                                                                        Mitchell Clout - Hourly - Cease and Desist
        morrisoncooper.com                                                                         Matter
                                                                                                                                    Demand Letter Response Draft
        O: (424) 333-9570
                                                                                                   Email


       Bill To:
       Mitchell Clout




       Time Entries

        Time Entries                                                            Billed By                       Rate             Hours                       Sub

        Time                                                                    Keith Cooper                  $575.00              1.30                  $747.50
        2/6/2023
        Prepare outline for response to second demand letter for associate to
        prepare letter


        Time                                                                    Katayoon Iravani              $375.00              1.00                  $375.00
        2/7/2023
        Review of OPC's response letter dated on 2-6-23 ahead of discussion
        with client and preparation of the response letter

        PARTNER TIME NOT BILLED


        Communicate (with client)                                               Katayoon Iravani              $375.00              1.00                  $375.00
        2/7/2023
        Call with        to discuss OPC's 2-6-23 Response Letter and the
        new claims alleged

        Communicate (in firm)                                                   Keith Cooper                    $0.00              0.60                     $0.00
        2/7/2023
        Call with Kat re: Copyright and Data Breach cliam

        Time                                                                    Keith Cooper                  $575.00              0.40                  $230.00
        2/7/2023
        Draft response letter introduction and conclusion


        Communicate (with client)                                               Keith Cooper                    $0.00              1.00                     $0.00
        2/8/2023
        Strategy meeting




file                                                                                                                                                         Page 1 of 3
          Case 2:23-cv-02687-SVW-JC                              Document 75-2 Filed 11/07/24 Page 38 of 113 Page
       Time Entries                                                    ID Billed
                                                                          #:1103 By        Rate  Hours          Sub

       Draft/Revise                                                                Katayoon Iravani   $375.00   5.30   $1,987.50
       2/8/2023
       Draft Version 1 of the February 2022 Response Letter to Opposing
       Counsel addressing prior and new claims asserted in the 2-6 response
       letter received


       Draft/Revise                                                                Katayoon Iravani   $375.00   1.00    $375.00
       2/9/2023
       Revise version one of the drafted 2-9 response letter to opposing
       counsel addressing the various allegations asserted against NoPixel
       and Mitchell Clout and emailed to Partner and Senior Counsel for review


       Draft/Revise                                                                Keith Cooper       $179.69   1.60    $287.50
       2/10/2023
       Review and revise response to second demand letter to include
       substantive arguments on copyright law


       Draft/Revise                                                                Sean Ulrich        $475.00   0.40    $190.00
       2/10/2023
       Review and grammatical edits to demand letter. Added substantive
       language regarding Anti-SLAPP lawsuits and potential conflict of
       interest due to Mr. Tracey's potential breach of employment contract


       Paralegal Work                                                              Kylie Sanders      $275.00   0.30     $82.50
       2/10/2023
       Assemble Exhibits into final PDF for KI review


       Draft/Revise                                                                Katayoon Iravani   $375.00   0.40    $150.00
       2/10/2023
       Revise version 1 of the drafted response letter to OPC re DW claims
       and new allegations raised in 2-6-23 Response Letter received from
       OPC after Partner and Senior Counsel review and changes - emailed
       version 2 to client for review and approval


       Draft/Revise                                                                Katayoon Iravani   $375.00   0.20     $75.00
       2/10/2023
       Received             request to change the "removal of all DW content
       on NoPixel Server" to "most" as the company is still working on
       removal; updated other portions of the letter with that requested change;
       emailed client version 3 of the drafted response for approval before
       sending to opposing counsel


       Communicate (with client)                                                   Katayoon Iravani     $0.00   0.10      $0.00
       2/13/2023
       Review             request re the discussion of DW issue with NoPixel
       employees with senior counsel and responded to client with feedback
       but with a request to hold until Partner confirms next steps

       TIME NOT BILLED


       Time                                                                        Wileen Leu           $0.00   0.30      $0.00
       2/15/2023
       Review correspondence between counsels re. copyright and defamation
       claims

       (TIME NOT BILLED)


       Time                                                                        Keith Cooper         $0.00   0.30      $0.00
       2/17/2023
       Call with associate to discuss proposed statement or communication to
       employees concerning dispute

       TIME NOT BILLED




file                                                                                                                        Page 2 of 3
           Case 2:23-cv-02687-SVW-JC                           Document 75-2 Filed 11/07/24 Page 39 of 113 Page
        Time Entries                                                 ID Billed
                                                                        #:1104 By        Rate  Hours          Sub

        Communicate (with client)                                              Katayoon Iravani             $375.00          0.30     $112.50
        2/17/2023
        Response email to             disclosure to employee question re DW
        after discussion with Partner


                                                                                                       Time Entries         15.50    $4,987.50
                                                                                                              Total




                                                                                                                  Total (USD)       $4,987.50




                                                                                                                      Balance           $0.00

                                                                                                             Total Outstanding          $0.00




       Wire Information:




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       Trust Account Balance




file                                                                                                                                      Page 3 of 3
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                                                                      ID #:1105




       Morrison Cooper LLP                                                                                                               INVOICE
        10900 Wilshire Blvd.                                                                                                  Number             4617
        Suite 930
                                                                                                                              Issue Date     3/31/2023
        Los Angeles, 90024
                                                                                                                              Due Date       4/21/2023
        accounting@morrisoncooper.com
                                                                                                                              Email
        morrisoncooper.com
        O: (424) 333-9570



       Bill To:
       Mitchell Clout




       Hourly - Cease and Desist Demand Letter Response Draft
       Time Entries

        Time Entries                                                             Billed By                      Rate            Hours            Sub

        Communicate (in firm)                                                    Larry Zerner                $460.00              0.40        $184.00
        2/6/2023
        Larry Zerner Time -
        Conference with Keith and Kat regarding NoPixel copyright infringement
        claim.


        Time                                                                     Keith Cooper                $575.00              1.10        $632.50
        2/7/2023
        Analysis of Danny Tracy new demand letter and prepare outline for
        response for associate to prepare responsive letter.


        Review/Analyze                                                           Larry Zerner                $460.00              0.40        $184.00
        2/7/2023
        Larry Zerner Time - Review demand letters in NoPixel case. Discuss
        legal strategy with Kat
        regarding case.


                                                                                                       Time Entries               1.90      $1,000.50
                                                                                                              Total




                                                                                                Total for Hourly - Cease and Desist         $1,000.50

                                                                                                   Demand Letter Response Draft




file                                                                                                                                              Page 1 of 2
           Case 2:23-cv-02687-SVW-JC                               Document 75-2 Filed 11/07/24           Page 41 of 113 Page
                                                                         ID #:1106




       Morrison Cooper LLP                                                                                             INVOICE
        10900 Wilshire Blvd.                                                                                Number             4707
        Suite 930
                                                                                                            Issue Date     4/30/2023
        Los Angeles, 90024
                                                                                                            Due Date       5/24/2023
        accounting@morrisoncooper.com
                                                                                                            Email
        morrisoncooper.com
        O: (424) 333-9570



       Bill To:
       Mitchell Clout




       Hourly - Cease and Desist Demand Letter Response Draft
       Time Entries

        Time Entries                                                         Billed By            Rate       Hours             Sub

        Time                                                                 Keith Cooper         $0.00        0.20           $0.00
        4/12/2023
        Call with Kat and Larry re: complaint v. Koil

        NOT BILLED

        Time                                                                 Keith Cooper         $0.00        0.50           $0.00
        4/12/2023
        Call with Sean, Larry, Kat to discuss responding to complaint

        NOT BILLED


        Review/Analyze                                                       Katayoon Iravani   $375.00        0.20          $75.00
        4/12/2023
        Review the Complaint filed by OPC which was emailed on 4-12-23


        Communicate (in firm)                                                Katayoon Iravani     $0.00        0.50           $0.00
        4/12/2023
        Internal call with Larry, Keith, and Sean re Complaint, Service of
        Process request, and next steps to propose to client

        TIME NOT BILLED




file                                                                                                                            Page 1 of 4
          Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24 Page 42 of 113 Page
       Time Entries                                                      ID Billed
                                                                            #:1107 By        Rate  Hours          Sub

       Communicate (with client)                                                     Katayoon Iravani     $0.00   0.10     $0.00
       4/12/2023
       Call to                                         r status and next steps;
       didn't leave voicemail and sent email with follow up and         status

       TIME NOT BILLED


       Communicate (with client)                                                     Katayoon Iravani   $375.00   0.20    $75.00
       4/12/2023
       Forwarded the Complaint and OPC's 4-12 email to Client with the
       proposed next steps and the request to confirm service of process

       Review/Analyze                                                                Katayoon Iravani     $0.00   0.30     $0.00
       4/12/2023
       Review              feedback and highlights in preparation of call with the
       Client to discuss the next steps to the TOVE Complaint; provided
                 with a response and scheduling of the call

       TIME NOT BILLED


       Communicate (in firm)                                                         Veronique          $460.00   1.40   $644.00
       4/12/2023                                                                     D'Avignon
       Larry Zerner Time - Review complaint; Telephone conference with Kat
       and Keith regarding Complaint and case strategy.

       Ref #095


       Communicate (other external)                                                  Katayoon Iravani     $0.00   0.10     $0.00
       4/13/2023
       Response email to OPC with no authorization from the client for Service
       of Process with request to provide confirmation for
       acceptance/authorization of DW Service of Process

       TIME NOT BILLED


       Communicate (with client)                                                     Veronique          $460.00   0.70   $322.00
       4/14/2023                                                                     D'Avignon
       Larry Zerner Time - Telephone conference with Client regarding case.

       Ref #095


       Time                                                                          Keith Cooper         $0.00   0.50     $0.00
       4/14/2023
       Meeting with         , Larry and Kat re: complaint and potential
       responses/strategies related thereto

       NOT BILLED


       Communicate (with client)                                                     Katayoon Iravani   $375.00   1.00   $375.00
       4/14/2023
       Call with Client, Larry Zerner and Keith re TOVE Compliant, Corporate
       details and the next steps for the Complaint filing and litigation strategy


       Communicate (with client)                                                     Katayoon Iravani     $0.00   0.20     $0.00
       4/14/2023
       4-14-23 After Call Summary with next steps and list of questions
       needing responses from Client's AUS counsel

       TIME NOT BILLED


       Communicate (with client)                                                     Katayoon Iravani   $375.00   0.20    $75.00
       4/24/2023
       Received and reviewed           email with             enforcement
       of US Judgments in AUS memorandum, with receipt of the word
       document with the conversations with Company staff




file                                                                                                                        Page 2 of 4
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       Time Entries                                                 ID Billed
                                                                       #:1108 By        Rate  Hours          Sub

       Time                                                                 Katayoon Iravani                   $0.00             0.10       $0.00
       4/27/2023
       Checked PACER / Court Website to see if Proof of Service filed and
       responded to         4-27 email with such update

       TIME NOT BILLED


                                                                                                      Time Entries               6.20   $1,566.00
                                                                                                             Total




                                                                                               Total for Hourly - Cease and Desist      $1,566.00

                                                                                                  Demand Letter Response Draft




file                                                                                                                                         Page 3 of 4
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       Wire Information:                                            ID #:1109




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       Trust Account Balance




file                                                                                                                                Page 4 of 4
             Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24              Page 45 of 113 Page
                                                                            ID #:1110




         Morrison Cooper LLP                                                                                                  INVOICE
          10900 Wilshire Blvd.                                                                                     Number             4824
          Suite 930
                                                                                                                   Issue Date     5/31/2023
          Los Angeles, 90024
                                                                                                                   Due Date       6/30/2023
          accounting@morrisoncooper.com
                                                                                                                   Email
          morrisoncooper.com
          O: (424) 333-9570



         Bill To:
         Mitchell Clout




         Hourly - Cease and Desist Demand Letter Response Draft
         Time Entries

          Time Entries                                                             Billed By            Rate        Hours             Sub

          Time                                                                     Katayoon Iravani     $0.00         0.60           $0.00
          5/3/2023
          Received             5-3 email with DW Twitter and Reddit Post and
          responded with acknowledgement; discussed client options with
          Partner and Litigation Counsel

          TIME NOT BILLED


          Communicate (with client)                                                Katayoon Iravani   $375.00         0.40         $150.00
          5/3/2023
          Provided substantive response and litigation feedback to           5-3
          emails re Reddit and DW Twitter post and provided date and time to
          schedule call to discuss with Larry and MoRo Team; received client
          feedback and call confirmation


          Time                                                                     Keith Cooper       $575.00         0.40         $230.00
          5/4/2023
          Analysis of registrar of actions, Copyright Notification form and
          requirements, review allegations of complaint in preparation of
          discussion and client recommendations

          Time                                                                     Keith Cooper         $0.00         0.40           $0.00
          5/4/2023
          Conference call with client and Zerner re: litigation strategy

          TIME NOT BILLED




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            Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24 Page 46 of 113 Page
         Time Entries                                                      ID Billed
                                                                              #:1111 By        Rate  Hours          Sub

         Communicate (in firm)                                                    Katayoon Iravani                $375.00              0.80   $300.00
         5/4/2023
         Review PACER Court Docket History, AO121 Form, and Senior
         Counsel and Partner discussion and review of Reddit and Twitter Post

         Communicate (with client)                                                Katayoon Iravani                $375.00              0.40   $150.00
         5/4/2023
         Call with        , Larry (Litigation Counsel), Partners (RM + KC) re
         DW Twitter and Reddit Posts and Litigation next steps while answering
         client questions


         Time                                                                     Katayoon Iravani                $375.00              0.20    $75.00
         5/11/2023
         Received client's email on 5-11 re Service of Process in AUS for
         DW/TOVE Lawsuit and responded with questions re Service and Client
         emailed scanned pages of Service and reviewed ahead of response to
         Client


         Communicate (in firm)                                                    Katayoon Iravani                   $0.00             0.20     $0.00
         5/12/2023
         Call with Larry Zerner (Litigation Counsel) and Partner re Litigation
         Strategy after service was made on Mitch and NoPixel and after
         receiving client emails on 5-13

         TIME NOT BILLED

         Communicate (with client)                                                Katayoon Iravani                $375.00              0.10    $37.50
         5/12/2023
         Responded to Client's 5-12 email with Litigation Next Steps after
         discussion with litigation counsel re litigation strategy

                                                                                                            Time Entries               3.50   $942.50
                                                                                                                   Total




                                                                                                     Total for Hourly - Cease and Desist      $942.50

                                                                                                        Demand Letter Response Draft



         Hourly - Tove v. NoPixel Litigation
         Time Entries

         Time Entries                                                             Billed By                          Rate            Hours       Sub

         Communicate (with client)                                                Veronique                       $525.00              0.30   $157.50
         5/3/2023                                                                 D'Avignon
         Larry Zerner Time - Respond to email from client; Telephone conference
         with Kat and Keith regarding case.

         Ref #200

         Time                                                                     Veronique                       $525.00              0.40   $210.00
         5/4/2023                                                                 D'Avignon
         Larry Zerner Time - Phone Call regarding Posting of Complaint.

         Ref #200




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         Time Entries                                                      ID Billed
                                                                              #:1112 By        Rate  Hours          Sub

         Review/Analyze                                                                 Veronique          $525.00   0.80   $420.00
         5/15/2023                                                                      D'Avignon
         Larry Zerner Time - Review complaint; Email correspondence with client
         regarding questions about the complaint.

         Ref #200


         Review/Analyze                                                                 Veronique          $525.00   0.50   $262.50
         5/16/2023                                                                      D'Avignon
         Larry Zerner Time - Review documents sent by Koil. Email
         correspondence with Koil regarding agreement with Daniel.

         Ref #200


         Time                                                                           Katayoon Iravani   $375.00   0.20    $75.00
         5/16/2023
         Review Larry's substantive email on May 15th re research needed for
         litigation and facts needed from client

         Review/Analyze                                                                 Katayoon Iravani     $0.00   0.10     $0.00
         5/17/2023
         Review Larry's email with the drafted letter to DW on 5-17 for feedback
         and edits.

         TIME NOT BILED

         Review/Analyze                                                                 Katayoon Iravani   $375.00   0.40   $150.00
         5/17/2023
         Review Larry's 5-15 email with various questions re DW and TOVE
         involvement on NoPixel Server and provided feedback based on all
         information client provided and OPC provided in demand letters and
         responses


         Review/Analyze                                                                 Katayoon Iravani   $375.00   0.30   $112.50
         5/17/2023
         Review Staff Conversations from 12-29-22             provided for litigation
         prep


         Draft/Revise                                                                   Veronique          $525.00   0.60   $315.00
         5/17/2023                                                                      D'Avignon
         Larry Zerner Time - Draft letter to Daniel Tracey regarding lawsuit.

         Ref #200


         Draft/Revise                                                                   Veronique          $525.00   0.30   $157.50
         5/19/2023                                                                      D'Avignon
         Larry Zerner Time - Finalize and send letter to Daniel Tracey. Send letter
         to opposing counsel regarding motion to dismiss.

         Ref #200


         Time                                                                           Katayoon Iravani   $375.00   0.60   $225.00
         5/19/2023
         Review Litigation counsel notes and requested feedback with Partner
         and provided substantive feedback to Litigation Counsel re contractual
         relationship between TOVE x NoPixel x DW after receiving client
         screenshots of Discord Messages from 2021 and 2022 between DW
         and Mitch


         Time                                                                           Veronique          $525.00   0.70   $367.50
         5/24/2023                                                                      D'Avignon
         Larry Zerner Time - Conduct meet and confer conference with TOVE's
         lawyer regarding motion to dismiss; Telephone conference with Keith
         regarding case.

         Ref #200




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             Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24 Page 48 of 113 Page
          Time Entries                                                      ID Billed
                                                                               #:1113 By        Rate  Hours          Sub

          Plan and Prepare                                                           Veronique                     $524.00               0.50    $262.00
          5/25/2023                                                                  D'Avignon
          Larry Zerner Time - Prepare stipulation for extension of time to file
          Response

          Ref #200


          Communicate (in firm)                                                      Katayoon Iravani                $0.00               0.50       $0.00
          5/31/2023
          Call with         and LZ re litigation next seps after OPC Meet &
          Confer re motion to dismiss

          TIME NOT BILLED

          Communicate (other external)                                               Veronique                     $525.00               0.60    $315.00
          5/31/2023                                                                  D'Avignon
          Larry Zerner Time - Conference call with           , Keith and Kat about
          case.

          Ref #200


                                                                                                             Time Entries                6.80   $3,029.50
                                                                                                                    Total




                                                                                                        Total for Hourly - Tove v. NoPixel      $3,029.50

                                                                                                                                Litigation




         Wire Information:




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         Trust Account Balance

          Date                              Item                                                                              Amount             Balance


          8/14/2023                        Current Balance                                                                                          $0.00




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           Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24                              Page 49 of 113 Page
                                                                          ID #:1114




       Morrison Cooper LLP                                                                                                                   INVOICE
        10900 Wilshire Blvd.                                                                             Number                                                   4948
        Suite 930
                                                                                                         Issue Date                                          6/30/2023
        Los Angeles, 90024
                                                                                                         Due Date                                            7/25/2023
        accounting@morrisoncooper.com
                                                                                                                              Mitchell Clout - Hourly - Tove v. NoPixel
        morrisoncooper.com                                                                               Matter
                                                                                                                                                              Litigation
        O: (424) 333-9570
                                                                                                         Email


       Bill To:
       Mitchell Clout




       Time Entries

        Time Entries                                                                  Billed By                       Rate          Hours                         Sub

        Research/Investigation                                                        Katayoon Iravani              $375.00           0.40                     $150.00
        6/6/2023
        Research Larry's Question re Federal Court and subject matter
        jurisdiction if copyright (fed claim) is dismissed and only state claim(s)
        remain; provided Larry limited research findings for review

        Review/Analyze                                                                Katayoon Iravani                $0.00           0.10                       $0.00
        6/9/2023
        Review of Larry's 6-9 emails (2 emails) to Client requesting feedback for
        DW Acceptance of Terms of Service (2020) and Scheduling Call for
        Declaration for MTD

        TIME NOT BILLED


        Communicate (with client)                                                     Katayoon Iravani              $375.00           0.60                     $225.00
        6/12/2023
        Call with Mitchell and Larry Zerner re next steps for litigation (motion to
        dismiss) and TOVE invoices

        Communicate (with client)                                                     Katayoon Iravani              $375.00           0.20                      $75.00
        6/12/2023
        6-12-23 After Call Summary with requests for confirmation and feedback
        to Client re TOVE Invoices and DW Messages re TOVE Invoices




file                                                                                                                                                               Page 1 of 4
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       Time Entries                                                     ID Billed
                                                                           #:1115 By        Rate  Hours          Sub

       Review/Analyze                                                             Katayoon Iravani     $0.00   0.10      $0.00
       6/12/2023
       Review            Discord Messages on 6-12 and Response email to 6-
       12 After Call Summary with additional screenshots and information re
       DW x TOVE Invoices and additional Discord Messages

       TIME NOT BILLED


       Research/Investigation                                                     Ryan O'Connor      $275.00   0.70    $192.50
       6/14/2023
       Paralegal research regarding who owns license to employee's work
       product.

       Communicate (with client)                                                  Katayoon Iravani   $375.00   0.40    $150.00
       6/22/2023
       Call with Client re FiveM Notification of DW Data Breach

       Time                                                                       Keith Cooper       $575.00   0.50    $287.50
       6/26/2023
       Analysis of Motion to Dismiss, TOVE Opposition to Motion to Dismiss,
       and telephone with Zerner to discuss litigation and Reply brief strategy


       Communicate (with client)                                                  Katayoon Iravani   $375.00   0.20     $75.00
       6/27/2023
       Substantive response email with feedback to Client's 6-26 email re
       Opposition to Motion to Dismiss filed by OPC

       Communicate (with client)                                                  Katayoon Iravani     $0.00   0.20      $0.00
       6/27/2023
       Discord conversation with           re Opposition and Larry's Reply

       TIME NOT BILLED


       Larry Zerner Time Entry                                                    Veronique          $525.00   0.20    $105.00
       6/5/2023                                                                   D'Avignon
       Email correspondence with opposing counsel about dismissing Mitch
       from case. Email correspondence with opposing counsel regarding
       subpoena to Discord.

       Ref #137

       Larry Zerner Time Entry                                                    Veronique          $525.00   1.40    $735.00
       6/9/2023                                                                   D'Avignon
       Begin drafting Motion to Dismiss

       Ref #137


       Larry Zerner Time Entry                                                    Veronique          $525.00   2.40   $1,260.00
       6/12/2023                                                                  D'Avignon
       Continue work on motion to dismiss case; Zoom meeting with clients

       Ref #137


       Larry Zerner Time Entry                                                    Veronique          $525.00   1.50    $787.50
       6/13/2023                                                                  D'Avignon
       Continue drafting Motion to Dismiss

       Ref #137

       Larry Zerner Time Entry                                                    Veronique          $525.00   0.90    $472.50
       6/14/2023                                                                  D'Avignon
       Revise and file Motion to Dismiss

       Ref #137




file                                                                                                                       Page 2 of 4
          Case 2:23-cv-02687-SVW-JC                               Document 75-2 Filed 11/07/24 Page 51 of 113 Page
       Time Entries                                                     ID Billed
                                                                           #:1116 By        Rate  Hours          Sub

       Review/Analyze                                                           Katayoon Iravani          $0.00    0.20      $0.00
       6/14/2023
       Review and forwarded to Litigation Counsel the Paralegal research and
       findings related to DW alleged employment with TOVE x TOVE and
       NoPixel relationship, including applicable California statutes

       TIME NOT BILLED

       Larry Zerner Time Entry                                                  Veronique               $525.00    0.20    $105.00
       6/16/2023                                                                D'Avignon
       Prepare and file Notice of Interested Parties

       Ref #137


       Time                                                                     Katayoon Iravani          $0.00    0.10      $0.00
       6/22/2023
       Obtain Motion to Dismiss and draft, filed Proposed Order from PACER
       and provided via email to Client

       TIME NOT BILLED


       Larry Zerner Time Entry                                                  Veronique               $525.00    0.40    $210.00
       6/26/2023                                                                D'Avignon
       Review Opposition to Motion to Dismiss; Telephone conference with
       Keith Cooper regarding case.

       Ref #137


       Review/Analyze                                                           Katayoon Iravani          $0.00    0.50      $0.00
       6/27/2023
       Review Opposition to Motion to Dismiss filed by Opposing Counsel re
       TOVE x NoPixel Litigation

       TIME NOT BILLED


       Time                                                                     Katayoon Iravani          $0.00    0.10      $0.00
       6/28/2023
       Received             6-27 discord message re PR abilities for events
       that occurred before TOVE Litigation; reviewed Client's questions with
       Partner and provided response to Client incl. response to YouTube
       Video shared by Client from Henry Resilient covering the TOVE
       Opposition for viewers

       TIME NOT BILLED

       Review/Analyze                                                           Katayoon Iravani          $0.00    0.20      $0.00
       6/30/2023
       Review the drafted Reply to the Opposition to MTD filed by OPC
       (Plaintiff) and provided response/confirmation of receipt to Larry

       TIME NOT BILLED

       Larry Zerner Time Entry                                                  Veronique               $525.00    2.20   $1,155.00
       6/30/2023                                                                D'Avignon
       Draft reply brief to Motion to Dismiss

       Ref #137


                                                                                                   Time Entries   13.70   $5,985.00
                                                                                                          Total




file                                                                                                                           Page 3 of 4
           Case 2:23-cv-02687-SVW-JC                           Document 75-2 Filed 11/07/24 Page 52 of 113 Page
                                                                     ID #:1117             Total (USD)     $5,985.00

                                                                                                         Payment 7997 7/21/2023       $-5,985.00
                                                                                                                    Online betaling

                                                                                                                       Balance           $0.00

                                                                                                             Total Outstanding           $0.00




       Wire Information:




       Please email accounting@morrisoncooper.com with a confirmation number once the wire has been initiated.




       Trust Account Balance

        Date                           Item                                                                           Amount           Balance


        10/4/2024                     Current Balance                                                                                     $0.00




file                                                                                                                                        Page 4 of 4
             Case 2:23-cv-02687-SVW-JC                              Document 75-2 Filed 11/07/24                            Page 53 of 113 Page
                                                                          ID #:1118




         Morrison Cooper LLP                                                                                                                  INVOICE
          10900 Wilshire Blvd.                                                                         Number                                                     5043
          Suite 930
                                                                                                       Issue Date                                            7/31/2023
          Los Angeles, 90024
                                                                                                       Due Date                                              8/18/2023
          accounting@morrisoncooper.com
                                                                                                       Matter       Mitchell Clout - Hourly - Tove v. NoPixel Litigation
          morrisoncooper.com
          O: (424) 333-9570                                                                            Email


         Bill To:
         Mitchell Clout




         Time Entries

          Time Entries                                                              Billed By                       Rate            Hours                          Sub

          Communicate (in firm)                                                     Katayoon Iravani                $0.00              0.10                      $0.00
          7/10/2023
          KC/KI Discussion re Amended Complaint filed by Plaintiff ahead of call
          with LZ

          Communicate (in firm)                                                     Katayoon Iravani                $0.00              0.40                      $0.00
          7/10/2023
          Call with Larry Zerner re Ps First Amended Complaint

          TIME NOT BILLED


          Time                                                                      Katayoon Iravani              $375.00              0.50                    $187.50
          7/10/2023
          Drafted 7-10 TOVE v. NoPixel Update to Clients re Motion to Dismiss -
          Reply and Plaintiff's First Amended Complaint filed on 7-7-23 with
          explanations of litigation next steps after 7-10 litigation strategy
          discussion with Larry Zerner


          Communicate (with client)                                                 Katayoon Iravani                $0.00              0.20                      $0.00
          7/10/2023
          7-10-23 Discord Messages with               re TOVE v. NoPixel updates
          after Reply filed on 7.3 and Plaintiff's Amended Complaint filed on 7.7

          TIME NOT BILLED


          Review/Analyze                                                            Katayoon Iravani              $375.00              0.20                     $75.00
          7/11/2023
          Review LZ and OPC 7-11 emails re 2nd Motion to Dismiss (MTD) filing
          based on the Amended Complaint, including the scheduling of the meet
          and confer prior to filing MTD




I-5043                                                                                                                                                             Page 1 of 3
             Case 2:23-cv-02687-SVW-JC                                Document 75-2 Filed 11/07/24 Page 54 of 113 Page
          Time Entries                                                      ID Billed
                                                                               #:1119 By        Rate  Hours          Sub

          Communicate (in firm)                                                        Katayoon Iravani            $0.00                 0.10       $0.00
          7/12/2023
          Review Larry Zerner 7-12 email re OPC 7-11 response re meet + confer
          scheduling and next steps re motion to dismiss based on the amended
          complaint


          Communicate (with client)                                                    Katayoon Iravani        $375.00                   0.10      $37.50
          7/13/2023
          Review OPC Email with Larry on 7-13 re meet and confer and sent
          Client the 7-13 Status Update after receiving Larry's email re failed Meet
          and Confer for MTD filing


          Communicate (with client)                                                    Katayoon Iravani        $375.00                   0.20      $75.00
          7/14/2023
          Call with       on 7-14 re Motion to Dismiss (2nd) filing status and
          OPC/LZ Meet and Confer correspondence updates


          Review/Analyze                                                               Katayoon Iravani        $375.00                   0.30     $112.50
          7/19/2023
          Review the drafted 2nd Motion to Dismiss drafted by LZ to ensure
          references to previous letters accurately referenced and in prep of
          sending to client with status update


          Time                                                                         Katayoon Iravani        $375.00                   0.20      $75.00
          7/21/2023
          Review both links Client provided on 7-20 re DW's representation to
          public as NoPixel Developer and provided confirmation to both links to
          Client and provided to Litigation Counsel for reference


          Time                                                                         Keith Cooper            $575.00                   0.50     $287.50
          7/31/2023
          Analysis of           inquiry re: copyright registration, dismissal and
          refiling and preparation of detailed response thereto


          Review/Analyze                                                               Katayoon Iravani        $375.00                   0.40     $150.00
          7/31/2023
          Review Plaintiff's Opposition to the 2nd Motion to Dismiss filed by
          Defendant and emailed with feedback to Larry, including the next steps


                                                                                                          Time Entries                   3.20    $1,000.00
                                                                                                                 Total




                                                                                                                           Total (USD)          $1,000.00

                                                                                                           Payment 8230 9/22/2023               $-1,000.00
                                                                                                                           Online betaling

                                                                                                                              Balance               $0.00

                                                                                                               Total Outstanding                    $0.00




         Wire Information:




         Please email accounting@morrisoncooper.com with a confirmation number once the wire has been initiated.




I-5043                                                                                                                                                Page 2 of 3
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24               Page 55 of 113 Page
                                                        ID #:1120



                                                                                                                   INVOICE
                                                                                                                      Invoice # 2288
                                                                                                                    Date: 08/01/2024
                                                                                                                   Due Upon Receipt
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                      Notes                                 Attorney Quantity       Rate           Total

 07/26/2024   Correction: For SGK Service Inc. - Invoice 4948, Morrison Cooper      VD           1.00    $10,000.00     $10,000.00
              covered the $10,000 Retainer (Billed to Client separately per Trust
              Request #2161) which was only partially paid ($5,000).

              SGK Service Inc. - Invoice 4948's total
              $35,525.00 - $25,525.00 (invoice 2167) = $10,000.00

              Retainer payments will show at the bottom of this invoice total.

 08/01/2024   Outside Counsel: SGK Service Inc. - Invoice 4952                      LL           1.00     $9,100.00      $9,100.00

              Garry Kitchen

              0.50 7/26/24 Call $ 650.00 $ 325.00
              4.00 7/27/24 Research & analysis Supplemental report $ 650.00 $
              2,600.00
              4.25 7/29/24 Supplemental report $ 650.00 $ 2,762.50
              3.00 7/30/24 Supplemental report $ 650.00 $ 1,950.00
              2.25 7/31/24 Supplemental report $ 650.00 $ 1,462.50
              -
              TOTAL $ 9,100.00




                                                                                                        Subtotal        $19,100.00

                                                                                                           Total        $19,100.00




                                                              Page 1 of 2
      Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 56 of 113 Page
                                                       ID #:1121                     Invoice # 2288 - 08/01/2024




Detailed Statement of Account




Please note our new remittance information below. Effective immediately.

Please make all amounts payable to: Morrison Cooper LLP


Payment is due upon receipt.




                                                            Page 2 of 2
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24               Page 57 of 113 Page
                                                        ID #:1122



                                                                                                            INVOICE
                                                                                                                Invoice # 207
                                                                                                             Date: 08/31/2023
                                                                                                           Due On: 09/29/2023
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                                  Attorney Quantity   Rate      Total

 07/07/2023   Larry Zerner Time Entry: Review Amended Complaint                        RO           0.30   $525.00   $157.50

              Ref #137

 07/10/2023   Larry Zerner Time Entry: Review complaint; Telephone conference with     RO           1.00   $525.00   $525.00
              Keith regarding case

              Ref #137

 07/11/2023   Larry Zerner Time Entry: Write email to TOVE's lawyer regarding Motion   RO           0.90   $525.00   $472.50
              to Dismiss

              Ref #137

 07/12/2023   Larry Zerner Time Entry: Begin work on Motion to Dismiss Amended         RO           0.70   $525.00   $367.50
              Complaint

              Ref #137

 07/17/2023   Larry Zerner Time Entry: Continue drafting motion to dismiss             RO           1.00   $525.00   $525.00

              Ref #137

 07/18/2023   Larry Zerner Time Entry: Continue drafting motion to dismiss             RO           1.70   $525.00   $892.50

              Ref #137

 07/19/2023   Larry Zerner Time Entry: Continue drafting motion to dismiss             RO           0.40   $575.00   $230.00

              Ref #137

 07/19/2023   Larry Zerner Time Entry: Finalize and file Motion to Dismiss             RO           1.00   $525.00   $525.00

              Ref #137

 07/31/2023   Larry Zerner Time Entry: Review Opposition to Motion to Dismiss case.    RO           1.30   $525.00   $682.50




                                                             Page 1 of 6
     Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24                Page 58 of 113 Page
                                                      ID #:1123                                   Invoice # 207 - 08/31/2023




             Email correspondence with client regarding motion; Begin drafting Reply
             brief

             Ref #137

Non-billable entries

08/25/2023   Communicate (with client): Forward status of Motion to Dismiss Hearing    KI        0.10   $375.00     $37.50
             to Client - the rescheduled date for hearing


                                                                                                 Subtotal         $4,377.50




                                                           Page 2 of 6
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                    Page 59 of 113 Page
                                                        ID #:1124



                                                                                                                      INVOICE
                                                                                                                      Invoice # 281
                                                                                                                   Date: 09/30/2023
                                                                                                                 Due On: 10/20/2023
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

 Services

    Date                                        Notes                                       Attorney Quantity    Rate       Total

 09/01/2023   Larry Zerner Time Entry: Continue drafting Reply Brief to Motion to           RO           1.80   $525.00    $945.00
              Dismiss Case

              Ref #143

 09/01/2023   Larry Zerner Time Entry: Continue drafting Reply Brief to Motion to           RO           0.70   $525.00    $367.50
              Dismiss

              Ref #143

 09/01/2023   Larry Zerner Time Entry: Finalize and file Reply Brief to Motion to Dismiss   RO           0.50   $525.00    $262.50

              Ref #143

 09/11/2023   Appear For/Attend: TOVE v. NoPixel Motion to Dismiss Hearing with             KI           3.50   $375.00   $1,312.50
              Larry Zerner

 Non-billable services

 09/12/2023   Communicate (with client): Provided            with feedback and answers      KI           0.40   $375.00    $150.00
              to Client's questions/concerns re TOVE litigation update on Discord

              TIME NOT BILLED

 09/13/2023   Review/Analyze: Review              9-13 email and discord messages re        KI           0.10   $375.00     $37.50
              DW x Immigration x NoPixel issues and forwarded to Larry while
              providing confirmation of receipt to Client

                                                                                                  Services Subtotal       $2,887.50




                                                              Page 1 of 6
  Case 2:23-cv-02687-SVW-JC    Document 75-2 Filed 11/07/24   Page 60 of 113 Page
                                     ID #:1125                        Invoice # 281 - 09/30/2023




Date                          Notes                     Attorney Quantity   Rate       Total




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      Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 61 of 113 Page
                                                       ID #:1126                      Invoice # 281 - 09/30/2023



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Please pay within 20 days.




                                                            Page 6 of 6
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24              Page 62 of 113 Page
                                                        ID #:1127



                                                                                                               INVOICE
                                                                                                                Invoice # 571
                                                                                                             Date: 10/31/2023
                                                                                                           Due On: 11/21/2023
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                                 Attorney Quantity    Rate       Total

 10/16/2023   Larry Zerner Time Entry: Prepare for, travel to and attend hearing on   RO           4.30   $525.00   $2,257.50
              Motion to dismiss case

 Non-billable entries




               IM


                                                                                                    Subtotal        $2,257.50




                                                             Page 1 of 4
      Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 63 of 113 Page
                                                       ID #:1128                      Invoice # 571 - 10/31/2023




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                                                            Page 4 of 4
      Case 2:23-cv-02687-SVW-JC                    Document 75-2 Filed 11/07/24                 Page 64 of 113 Page
                                                         ID #:1129



                                                                                                               INVOICE
                                                                                                                   Invoice # 722
                                                                                                                Date: 11/30/2023
                                                                                                              Due On: 12/15/2023
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                                     Attorney Quantity   Rate      Total

 11/14/2023   Review/Analyze: Review with Partner (KC) and Larry Zerner the               KI           0.40   $375.00   $150.00
              proposed Mitchell Clout x USCIS Letter re DW work visa letter from Client

 11/14/2023   Communicate (with client): Call with          re MoCo x Larry Zerner        KI           0.40   $375.00   $150.00
              feedback to the v1 draft of the USCIS Letter re DW x work visa,


 11/15/2023   Review/Analyze: Analysis of proposed claimant immigration issue and         KC           0.30   $575.00   $172.50
              preparation of summary and recommendations re: proposed course of
              action

 11/16/2023   Communicate (In Firm): Review with Partner (KC) re DW Fake Porn             KI           0.20   $375.00    $75.00
              Police Report

              PARTNER TIME NOT BILLED

 11/16/2023   Communicate (with client): Substantive response to Client re DW Fake        KI           0.20   $375.00    $75.00
              Porn Website Police Report and Claims after Partner review

 11/16/2023   Review/Analyze: Analysis of alleged theft issue by DW and provide           KC           0.20   $575.00   $115.00
              opinions (and discussion with Kat) re: impact on litigation strategy,
              potential use as evidence

 11/21/2023   Communicate (other outside counsel): Participate in calls with              KC           0.40   $575.00   $230.00
              and           re: responding to latest claimant letter, proposed
              settlement

              TIME REDUCED IN HALF FOR TWO CALLS (11/20 AND 11/21)

 Non-billable entries

 11/14/2023   Communicate (with client): Provided         After Call Confirmation to      KI           0.10   $375.00    $37.50
              the 11-14 USCIS Letter email re DW x work visa

              TIME NOT BILLED




                                                              Page 1 of 5
Case 2:23-cv-02687-SVW-JC   Document 75-2 Filed 11/07/24   Page 65 of 113 Page
                                  ID #:1130                      Invoice # 722 - 11/30/2023




                                                                Subtotal         $967.50




                                   Page 2 of 5
      Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 66 of 113 Page
                                                       ID #:1131                      Invoice # 722 - 11/30/2023




Please note our new remittance information below. Effective immediately.

Please make all amounts payable to: Morrison Cooper LLP


Please pay within 15 days.




                                                            Page 5 of 5
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                Page 67 of 113 Page
                                                        ID #:1132



                                                                                                                INVOICE
                                                                                                                 Invoice # 923
                                                                                                              Date: 12/31/2023
                                                                                                            Due On: 01/22/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                                   Attorney Quantity   Rate      Total

 12/04/2023   Review/Analyze: Analysis of Reddit posts and client emails re: same;      KC           0.40   $575.00   $230.00
              review file to determine source of information and summarize for client

 12/04/2023   Review/Analyze: Review NoPixel x TOVE 2-6-23 Reddit Leaked Letter         KI           0.30   $375.00   $112.50
              per Client's "Urgent" 12-2-23 email


                                                                                                     Subtotal         $342.50




                                                             Page 1 of 5
      Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 68 of 113 Page
                                                       ID #:1133                      Invoice # 923 - 12/31/2023




Please note our new remittance information below. Effective immediately.

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Please pay within 22 days.




                                                            Page 5 of 5
      Case 2:23-cv-02687-SVW-JC                    Document 75-2 Filed 11/07/24                   Page 69 of 113 Page
                                                         ID #:1134



                                                                                                                 INVOICE
                                                                                                                     Invoice # 1369
                                                                                                                  Date: 02/29/2024
                                                                                                                Due On: 03/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                         Notes                                      Attorney Quantity   Rate       Total

 02/15/2024   Review/Analyze: Telephone with Zerner re: Court Ruling on Motion to           KC           0.30   $625.00   $187.50
              Dismiss and review of Court Order/Ruling

 02/15/2024   Communicate (with client): Review and respond to             2-9 Discord      KI           0.10   $425.00    $42.50
              Message re                     delayed response to proposed date/time for
              meeting between all parties, including discussion re TOVE Motion to
              Dismiss received on 2-14-24

 02/16/2024   Review/Analyze: Review TOVE Motion to Dismiss 2-15-24 Denial and              KI           0.20   $425.00    $85.00
              Judge's Notes on PACER

 02/21/2024   Review/Analyze: Review Client's (      ) Timeline and related                 KI           0.70   $425.00   $297.50
              documents in preparation of TOVE Answer to be filed with Court

 02/21/2024   Communicate (with client): Call with Clients (         + Mitch), Larry, and   KI           1.50   $425.00   $637.50
              Partner (KC) re TOVE Answer and next steps

 02/21/2024   Communicate (with client): Participate in teleconference with litigation      KC           1.50   $125.00   $187.50
              counsel, clients and associate (Kat) re: preparation of answer to
              complaint, litigation strategy (MSJ or other early disposition).

              BILLING RATE REDUCED BY 80% DUE TO PARTICIPATION BY
              OTHERS

 02/26/2024   Review/Analyze: Review         2-25 email re DW YouTube re "full time         KI           0.10   $425.00    $42.50
              NoPixel employee" and responded with LZ to confirm anything further
              needed for DW YouTube

 Non-billable entries

 02/14/2024   Communicate (In Firm): Call with Partner (KC) re the Court's Denial re        KI           0.10   $425.00    $42.50
              TOVE Motion to Dismiss and next steps

              TIME NOT BILLED

 02/21/2024   Communicate (In Firm): Discuss with Partner (KC) re DW Timeline               KI           0.20   $425.00    $85.00




                                                               Page 1 of 6
 Case 2:23-cv-02687-SVW-JC        Document 75-2 Filed 11/07/24   Page 70 of 113 Page
                                        ID #:1135                     Invoice # 1369 - 02/29/2024




      provided by       on 2-20

      TIME NOT BILLED


                                                                      Subtotal        $1,480.00



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                                         Page 2 of 6
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                    Page 71 of 113 Page
                                                        ID #:1136



                                                                                                                  INVOICE
                                                                                                                      Invoice # 1601
                                                                                                                   Date: 03/31/2024
                                                                                                                 Due On: 04/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                                       Attorney Quantity    Rate       Total

 03/04/2024   Larry Zerner Time Entry: Review ruling on Motion to Dismiss. Began            RO           4.60   $525.00   $2,415.00
              drafting answer to Complaint. Telephone conference w/ clients regarding
              response to Complaint and case strategy. Further answer to Complaint
              draft. Finalized and filed Answer to Complaint. Prepared notice of
              interested parties. Reviewed Order of court settling Status conference.

              Ref #177

 03/05/2024   Communicate (other outside counsel): Telephone with Zerner re: possible       KC           0.20   $625.00    $125.00
              arbitration of Australian litigation strategy, discussion of application of
              Terms of Service

 03/07/2024   Communicate (with client): Telephone with Zerner to discuss TOVE              KC           0.40   $625.00    $250.00
              claims concerning use of DW code on new server, retention of forensic
              investigator, and prepare summary to client

 03/07/2024   Communicate (with client): Multiple follow up communications with client      KC           0.40   $625.00    $250.00
              re: joint works, copyright ownership, scope and amount of work used on
              second server, nature of claims, forensic expert and discovery rights

 03/11/2024   Communicate (other outside counsel): Discussion of required evidence,         KC           0.20   $625.00    $125.00
              testimony and witnesses with Zerner and prepare correspondence to
              client re: same for planning upcoming disclosure requirements

 03/12/2024   Communicate (with client): Teleconference with client and Zerner re:          KC           0.90   $312.50    $281.25
              litigation and discovery strategies, document production and witness
              identification, possible declaratory relief action in Australia

              BILLED AT 50% RATE

 03/14/2024   Time: Review and redline Rule 26 Disclosures for TOVE lawsuit and             KI           0.20   $425.00     $85.00
              provided LZ accurate DW legal name with update to         re changes
              to Rule 26 Disclosures

 03/22/2024   Communicate (with client): Call with Keith and Clients (Mitch +         )     KI           0.90   $425.00    $382.50
              re TOVE Discovery and Next Steps for AUS x DW Litigation




                                                              Page 1 of 8
     Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                 Page 72 of 113 Page
                                                       ID #:1137                                   Invoice # 1601 - 03/31/2024




             deal terms expressed on 3-22 (investigation)

03/22/2024   Communicate (with client): Telephone with client re: interrogatories,       KC       0.70   $312.50     $218.75
             possible declaratory relief action

             BILLED AT 50% RATE

03/25/2024   Communicate (other outside counsel): Call with Partner (KC) and Larry       KI       0.40   $212.50      $85.00
             Zerner re Status Conference on 3-25 and trial date

             50% REDUCED RATE WITH PARTNER

03/25/2024   Communicate (Other External): Strategy call with Zerner following CMC;      KC       0.40   $312.50     $125.00
             including discussion of interrogatories and production plan

             PARTNER RATE REDUCED BY 50%

03/26/2024   Draft/Revise: Review draft interrogatories and RFP prepared by Zerner       KC       0.80   $625.00     $500.00
             and prepare proposed additional special interrogatories for service on
             plaintiff (to add to rogs proposed by Zerner)

03/27/2024   Review/Analyze: Analysis of multiple correspondence from Mitchel and        KC       0.30   $625.00     $187.50
             preparation of response re: defamation claim, attorney fee recovery, and
             claims

03/28/2024   Research/Investigation: Finding information in regards to Danny Tracey      CM       0.50   $150.00      $75.00

03/28/2024   Review/Analyze: Review DW residential addresses report from brand           KI       0.40   $425.00     $170.00
             specialist investigator (CM) and provided report with last stream and May
             6, 2023 tweet to Larry and           for review in preparation of TOVE
             Discovery

03/28/2024   Time: Review and substantively respond to              3-28 emails re DW    KI       0.10   $425.00      $42.50
             UK address and company for TOVE lawsuit

03/29/2024   Review/Analyze: Review updated drafts of interrogatories and RFP, and       KC       0.30   $625.00     $187.50
             initial draft of Requests for Admissions

Non-billable entries

03/12/2024   Communicate (with client): Call with Larry Zerner, Mitch,          and      KI       1.00   $425.00     $425.00
             Keith re TOVE Discovery Disclosures and Litigation Next Steps

             TIME NOT BILLED


                                                                                                   Subtotal        $5,505.00




                                                             Page 2 of 8
      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                 Page 73 of 113 Page
                                                        ID #:1138



                                                                                                                INVOICE
                                                                                                                    Invoice # 1750
                                                                                                                 Date: 04/30/2024
                                                                                                               Due On: 05/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                  Notes                                Attorney Quantity    Rate     Discount     Total

 04/01/2024   Review/Analyze: Analysis of multiple correspondence with         KC           0.40   $625.00     10.0%     $225.00
              client and Zerner re: code investigation/GitHub; and potential
              for suing DW. Prepare analysis of possible suit against DW
              for equitable/express indemnification and Declaratory Relief

 04/01/2024   Larry Zerner Time Entry: Prepare Requests for Documents,         RO          10.90   $325.00          -   $3,542.50
              Requests for Admissions and Interrogatories; Conduct Rule
              26 Conference.

              Telephone conferences.

              Prepare for and participate in phone conference with client
              regarding discovery and case strategy. Prepare Rule 26
              Disclosures.

              Finalize and Send Rule 26 disclosures.

              Draft Reqest for Production of Documents and
              Interrogatories.

              Conduct legal research regarding agency. Travel to court and
              attend status conference in case.

              Email correspondence with client regarding case status;
              Continue drafting discovery responses.

              Review data analysis for DW code. Email correspondence
              with client.

              Prepare Requests for Admissions; Finalize and serve
              discovery.

              Ref #184

 04/01/2024   Communicate (In Firm): Discussion with Partner (KC) re           KI           0.20   $425.00     50.0%      $42.50
              Discovery Served onto Plaintiff on 3-29 and Code Updates




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             from Client

             BILLED AT 50% RATE PER KEITH

04/01/2024   Review/Analyze: Review discovery requests and code                 KC   0.20   $625.00    50.0%       $62.50
             confirmation with Kat

             BILLED AT 50% RATE PER KEITH

04/11/2024   Review/Analyze: Analysis of correspondence from Mitchell re:       KC   0.20   $625.00    10.0%      $112.50
             DW use of server conversations, documents and information
             and preparation of response.

04/22/2024   Communicate (In Firm): Discussion with Partner (KC) re             KI   0.20   $425.00    10.0%       $76.50
             additional discovery requests to be requested based on
             Client's 4-11-24 Discord communications re DW and DW's
             business partner

04/22/2024   Communicate (other outside counsel): Provided Larry with           KI   0.20   $425.00    10.0%       $76.50
             4-11-24 Discord Conversation re potential additional
             discovery requests to be propounded on TOVE

04/24/2024   Communicate (In Firm): Discuss with Partner (KC) LZ's 4-24         KI   0.30   $425.00    10.0%      $114.75
             request for MoCo to handle the responses to the three sets of
             discovery requests propounded by Plaintiff (TOVE) on
             Defendant (NoPixel)

04/25/2024   Communicate (other outside counsel): Call with Larry Zerner        KI   0.20   $425.00    10.0%       $76.50
             and Partner (KC) re Judge's 4-25 decision to grant Plaintiff's
             Ex Parte Motion to extend trial by 60 days (September 17th)

04/29/2024   Analysis of Tove Discovery Responses and discuss remedies          KC   0.40   $625.00    50.0%      $125.00
             with Larry

             BILLED AT 50% RATE PER KEITH

04/29/2024   Review/Analyze: Review OPC's Four Sets of Responses to             KI   0.50   $425.00    10.0%      $191.25
             Defendants Discovery Requests and forward to        for
             review

04/29/2024   Plan and Prepare: Review draft discovery responses to              KC   1.50   $625.00    50.0%      $468.75
             prepare formal responses; call with client to discuss
             responses and objections

             BILLED AT 50% RATE PER KEITH

04/29/2024   Communicate (with client): Call with Mitch,      , Larry           KI   1.50   $425.00    50.0%      $318.75
             and Partner (KC) re TOVE Discovery Requests, including
             modifying          v1 draft responses and documents to
             produce

             BILLED AT 50% RATE PER KEITH

04/30/2024   Review/Analyze: Reviewed 7 sets of emails from                     KI   1.00   $425.00    50.0%      $212.50
             with TOVE discovery information and documents for RFDs,
             including providing confirmations to           with requests for
             any additional information related to the discovery requests




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             BILLED AT 50% RATE PER KEITH

04/30/2024   Draft/Revise: Draft Responses to Plaintiff's Set One Requests           KI   2.00   $425.00    50.0%      $425.00
             for Production of Documents

             BILLED AT 50% RATE PER KEITH

Non-billable entries

04/09/2024   Time: Provided Larry with DW Invoices (6 invoices, including            KI   0.00   $425.00          -      $0.00
             refunded invoices + summary) provided by            on 4-8
             including DW messages to Koil re visa work sponsor and
             payment arrangement in prep of Discovery Requests received
             by TOVE/Begakis

04/11/2024   Communicate (other outside counsel): Sent Larry Zerner a                KI   0.10   $425.00          -     $42.50
             request re execution of an NDA and Motion for Protective
             Order before sharing NP code with TOVE, Begakis, Plaintiff
             expert(s), and DW

04/11/2024   Communicate (other outside counsel): Review and respond to              KI   0.10   $425.00          -     $42.50
             LZ's 4-11 affirmative response to the NDA and motion for
             protective order requests and requested additional next steps
             to obtain executed NDA before sharing code with Plaintiff and
             Plaintiff's experts + counsel

04/11/2024   Communicate (with client): Review and respond to Partner                KI   0.10   $425.00          -     $42.50
             (KC) and Mitch's 4-11 Discord Messages re DW server
             access, including co-founder potentially obtaining server
             secrets/information for DW's server, and potential lawsuit
             against DW for data breach

04/12/2024   Time: Review Larry's 4-12 draft of the Motion for Protective            KI   0.10   $425.00          -     $42.50
             Order for the Code re NoPixel Server that is being shared
             with OPC (Begakis), TOVE, DW, and TOVE expert(s) and
             provided confirmation for no edits to the draft subject to
             Partner (KC) review + approval

04/17/2024   Communicate (other outside counsel): Call with Larry Zerner             KI   0.10   $425.00          -     $42.50
             re Plaintiff's Expert Witness Designation failure and next
             steps in joint stipulation to continue trial due to Plaintiff's
             failure to designate expert witness

04/23/2024   Communicate (In Firm): Discuss with Partner (KC) Court's                KI   0.30   $425.00          -    $127.50
             denial to stipulation to continue trial due to Plaintiff's failure to
             designate expert and reviewed Judge's Denial Order

04/25/2024   Communicate (with client): Review and substantively respond             KI   0.10   $425.00          -     $42.50
             to             4-25 Discord questions re TOVE's discovery
             obligations: "If Tove doesn't produce anything for NoPixel's
             document requests or of there is no evidence of an
             agreement with NoPixel"

04/30/2024   Communicate (with client): Provided           with a                    KI   0.10   $425.00          -     $42.50
             substantive after call summary re her provided Discovery
             requests responses and instructions for additional detail per
             Larry's 4.29 request




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04/30/2024   Communicate (with client): Review and respond to          KI          0.10   $425.00          -      $42.50
             4-29-24           Message re sending documents and
             information for the Plaintiff's discovery requests

                                                                            Line Item Discount Subtotal        -$1,752.00


                                                                                              Subtotal         $6,070.50




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                                                                                                                  INVOICE
                                                                                                                      Invoice # 1956
                                                                                                                   Date: 05/31/2024
                                                                                                                 Due On: 06/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
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Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                            Notes                                   Attorney Quantity    Rate       Total

 05/01/2024      Draft/Revise: Draft Defendant's First Set of Responses to Plaintiff's      KI           1.90   $425.00    $807.50
                 Requests for Admissions

 05/01/2024      Time: Review Larry's redlines to v1 draft of the Responses to Requests     KI           0.20   $425.00     $85.00
                 for Production of Documents, Set One, and accepted redline changes
                 and finalized draft

 05/02/2024      Draft/Revise: Draft Responses to Plaintiff's Interrogatories Set One and   KI           4.00   $425.00   $1,700.00
                 sent to Larry for feedback and review

 05/02/2024      Larry Zerner Time Entry: Email correspondence w/ opposing counsel          RO           7.20   $525.00   $3,780.00
                 regarding DW's contributions to NoPixel.

                 Review discovery requests from Plaintiff.

                 Drafted Protective Order. Email correspondence w/ Plaintiff's attorney
                 regarding case.

                 Teleconference w/ Begakis regarding discovery. Finalized Protective
                 Order.

                 Email correspondence w/ Plaintiff's lawyer regarding continuing expert
                 discovery cutoff. Teleconference w/ client regarding case. Review
                 stipulation to continue trial date.

                 Telephone conference w/ Plaintiff's attorney re: ex parte notion.
                 Continued legal research for trial. Review ex parte application filed by
                 Plaintiff.

                 Review order of court continuing trial. Corresponded w/ client.

                 Reviewed Plaintiff's responses to discovery and documents produced by
                 client.

                 Ref #193




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05/02/2024   Paralegal Work: Work on compiling Discovery Production for KI/KC              KS       3.50   $325.00   $1,137.50
             review

05/02/2024   Review/Analyze: Analysis of draft responses to Requests for Admission         KC       1.30   $625.00     $812.50
             and Requests for Production and prepare comments thereto on selective
             use of objections, reconciliation of responses, and attacking Plaintiff's
             definitions (thereby creating consistent objections)

05/02/2024   Draft/Revise: Revise v1 4-30 draft of the RPD responses re TOVE and           KI       0.60   $425.00     $255.00
             sent to Partner (KC) for feedback

05/03/2024   Review/Analyze: Analysis of financial information and DW                      KC       0.50   $625.00     $312.50
             correspondence for providing updates to discover responses as needed

05/03/2024   Review/Analyze: Analysis of documents produced by Plaintiff for               KC       0.30   $625.00     $187.50
             discussion with Larry (and client)

05/04/2024   Time: Review Larry's 5-2-24 redlines and comment bubbles re                   KI       0.30   $425.00     $127.50
             Responses to Plaintiff's propounded ROGs on Defendant and forwarded
             Larry's questions to Client to          to reconcile before finalizing the
             entire draft for Client's review and approval

05/06/2024   Paralegal Work: Prepare Discovery Response for KI/KC review                   KS       0.70   $325.00     $227.50

05/06/2024   Communicate (In Firm): Call with LZ re Discovery Production                   KS       0.60   $325.00     $195.00

05/06/2024   Time: Review and revise v1 draft of ROGs responses based on                   KI       0.40   $425.00     $170.00
                         5-4 feedback on Discord for Interrogatories 2 and 9 and sent to
             Larry for review

05/07/2024   Paralegal Work: Create Discovery Index and Bates Number Discovery             KS       1.00   $325.00     $325.00
             Production for LZ Review

05/07/2024   Review/Analyze: Analysis of revised responses to RFA and RFP, insert          KC       0.90   $625.00     $562.50
             additional objections and revise response re: admitting in part and
             denying in part where appropriate and structuring responses to match
             between RFA and RFP

05/07/2024   Review/Analyze: Review v1 draft of Discovery Document Production              KI       0.60   $425.00     $255.00
             Index and BATES Numbers and provide Paralegal (KS) modifications and
             additions to the document production incorporating Rule 26 Disclosure
             documents

05/07/2024   Review/Analyze: Review with Partner (KC) v2 drafts of RFAs and RFPs           KI       1.40   $425.00     $595.00
             and revise responses per Partner's feedback and instructions

05/07/2024   Draft/Revise: Revise RFPs per Partner's (KC) 5-7 feedback and including       KI       0.70   $425.00     $297.50
             additional documents identified by paralegal (KS) to be included with
             responses

05/07/2024   Draft/Revise: Revise ROGs per Larry and Partner's (KC) 5-2 and 5-7            KI       0.60   $425.00     $255.00
             feedback, including additional responses identified by       on 5-6
             and 5-7 via Discord

05/07/2024   Time: Provided all three sets of discovery responses (RFAs, RFPs, and         KI       0.20   $425.00      $85.00
             ROSs) to            and Mitch to review and sign, including the Client to
             review all documents produced with respective BATES numbering




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05/07/2024   Paralegal Work: Make requested edits to Discovery Production; update         KS       0.50   $325.00     $162.50
             Index; send to KI for review

05/08/2024   Review client's email re: proposed Discovery edits; make edits; send to KI   KS       0.70   $325.00     $227.50
             for review

05/08/2024   Review/Analyze: Analysis of             comments in discovery responses      KC       0.20   $625.00     $125.00
             and prepare discovery strategy outline for her on answering rogs and
             deposition questions

05/08/2024   Time: Review             5-8 feedback re ROGs, documents for RPDs,           KI       2.20   $425.00     $935.00
             and GitHub Access and made the requested changes for each set of
             Discovery Responses, including document production and sent to Larry
             for review before sending to Client

05/08/2024   Communicate (other outside counsel): First Call with Larry on 5-8-24 re      KI       0.30   $425.00     $127.50
                     feedback to ROG 4 and documents production (MC133 and
             134)

05/08/2024   Communicate (other outside counsel): Second Call with Larry on 5-8 re        KI       0.10   $425.00      $42.50
             172-Server List for production to TOVE

05/08/2024   Communicate (other outside counsel): Third call with Larry re ROGs           KI       0.20   $425.00      $85.00
             responses 14-18 and                       production of documents

05/08/2024   Time: Review Larry's 5-8 redlines to the ROGs v2 draft and forwarded the     KI       0.30   $425.00     $127.50
             revised ROGs to           with new documents production referenced in
             ROGs responses for review and approval

05/08/2024   Time: Review Client's signed Verification pages for all three sets of        KI       0.40   $425.00     $170.00
             Discovery Responses to TOVE, including Paralegal (KS) edits to
             Discovery Index and documents produced after receiving Client's
             approval on 5-8; Forwarded all documents to Larry to send to Begakis

05/09/2024   Review/Analyze: Review and respond to multiple inquiries/information         KC       0.50   $625.00     $312.50
             provided by client re: discovery dispute, meet and confer process, motion
             to compel, new discovery and subpoenas issued by both parties

05/13/2024   Review/Analyze: Review OPC Supplement Responses to Mitch + NoPixel           KI       0.50   $425.00     $212.50
             Discovery Requests sent on 5-10, including documents production (Set 2)
             - forwarded to       for visibility as well

05/14/2024   Review/Analyze: Analysis of Amended discovery responses, expert              KC       0.20   $625.00     $125.00
             recommendations and meet and confer letters for possible preparation of
             motion to compel and general status for follow up with client as needed

05/14/2024   Review/Analyze: Review OPC 5-9 and 5-10 emails re "insufficient              KI       0.40   $425.00     $170.00
             discovery responses" to all three sets of responses produced on 5-8
             (RFAs, RPDs, and ROGs) and requested Larry to provide instructions as
             to any supplemental responses

05/14/2024   Time: Review and substantively respond to both            5-13 email         KI       0.10   $425.00      $42.50
             with NP Developers Discord Message Chain re DW alleged "creative
             contributions" to NP Tebex payment processing system and Keith's 5-14
             response with request to         to provide Tebex establishment date
             (before DW joining Server)

05/15/2024   Draft/Revise: Draft responses to both first sets of RPDs and ROGs            KI       0.50   $425.00     $212.50




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             served on Mitchell Clout and sent to Larry for review and feedback before
             sending to Client

05/15/2024   Communicate (other outside counsel): Teleconference with Larry re:            KC       0.50   $625.00     $312.50
             Meeting and Confer meeting with opposing counsel, determination of
             whether to send additional documents, plaintiff production of documents
             and expert retention, basis of claims in light of evidence provided

05/16/2024   Communicate (other outside counsel): Call with Larry Zerner and Partner       KI       0.50   $425.00     $212.50
             (KC) re Larry's Meet and Confer call with OPC (Begakis) re TOVE
             Insufficient Discovery Responses and PayPal Subpoena

05/28/2024   Communicate (In Firm): Review summary of evidence produced by TOVE            KC       0.60   $625.00     $375.00
             in response to RFP and prepare recommendations for conducting
             analysis on relevancy grounds (delineating the specific evidence that
             proves or disproves the specific issues in the case including claims and
             defenses)

05/28/2024   Review/Analyze: Review the May 24, 2024 3 Sets of Documents                   KI       1.00   $425.00     $425.00
             Production sent by OPC and notate messages and admissions for TOVE
             lawsuit (depositions and other discovery requests per Partner (KC)
             Instructions) - forwarded to         for review/visibility

05/28/2024   Communicate (In Firm): Discuss with Partner (KC) the three sets of            KI       0.60   $425.00     $255.00
             documents received from OPC on 5-24 and major notes for discovery /
             trial strategy

             PARTNER TIME NOT BILLED

05/29/2024   Paralegal Work: Go through O/C's discovery response; download and             KS       0.40   $325.00     $130.00
             organize files; create index

05/29/2024   Time: Review Set 4 RPD Docs produced by TOVE on 5-24 and compiled             KI       1.00   $425.00     $425.00
             a substantive notes summary for litigation prep discussion on 5.30

05/29/2024   Time: Review Set 5 of RPD Docs produced by TOVE on 5-24 and                   KI       1.40   $425.00     $595.00
             compiled a list of flagged items from documents to discuss with LZ during
             litigation strategy prep 5.30 call

05/30/2024   Communicate (Other External): Strategy call with Zerner to discuss            KC       0.80   $625.00     $500.00
             document production and discovery issues to cover meet and confer
             requirement for discovery dispute over financial records and submit court
             stipulations while Zerner

05/30/2024   Review/Analyze: Review           5-20 provided notes to TOVE's Sets           KI       0.20   $425.00      $85.00
             4 and 5 of RPD responses/docs provided in preparation of TOVE strategy
             call with LZ

05/30/2024   Communicate (In Firm): Discussion with Larry and Partner (KC) re Tove         KI       0.70   $425.00     $297.50
             Discovery Responses, specifically sets 4 and 5, PayPal Subpoena,
             Mitchell Clout Discovery Responses to finalize and obtain clients signed
             verification page, and overall strategy options and confirmations requiring
             client's consent/feedback

05/30/2024   Time: Drafted a substantive and detailed summary of various action items      KI       1.00   $425.00     $425.00
             requiring Client's feedback and confirmation, including updates re PayPal
             Subpoena, Signing Verification Pages to finalized Mitchell Clout ROG +
             RPD Discovery Responses to TOVE, and financial information requested




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             by TOVE and ramifications if we do not produce/abide by TOVE request

Non-billable entries

05/02/2024   Communicate (In Firm): Discussion with Partner (KC) re status of all three    KI       0.90   $425.00     $382.50
             sets of Discovery Responses and timeline for assembling the production
             of documents

             TIME NOT BILLED

05/02/2024   Communicate (other outside counsel): Review and respond to Larry's 5-2        KI       0.10   $425.00      $42.50
             proposition in subpoenaing PayPal for DW's PayPal history as it relates to
             TOVE scope of employment and payment of NoPixel services

             TIME NOT BILLED

05/08/2024   Communicate (with client): Review and respond to          5-7                 KI       0.10   $425.00      $42.50
             feedback on Discord re documents production and provided substantive
             response in group discord message re ROG 4 response

             TIME NOT BILLED

05/17/2024   Review/Analyze: Review Larry's 5-17 email to Clients re Begakis Meet          KI       0.10   $425.00      $42.50
             and Confer and the proposed discovery responses to OPC's insufficient
             discovery responses demands and requests

             TIME NOT BILLED

05/22/2024   Communicate (other outside counsel): Sent Larry a follow up email re v1       KI       0.10   $425.00      $42.50
             drafts provided for Discovery propounded on Mitch (2 sets: RFAs and
             RFPs)

             TIME NOT BILLED

05/29/2024   Communicate (with client): Provided              with Notes re Sets 4 and 5   KI       0.10   $425.00      $42.50
             of RPD Docs produced by TOVE on 5.24 for any further flagged items
             before litigation strategy prep call with LZ on 5.30

             TIME NOT BILLED

05/30/2024   Communicate (with client): Discord conversation with Mitch on 5-29 re the     KI       0.20   $425.00      $85.00
             three sets of documents produced by TOVE on 5-24 and the issues re
             potential doctoring of messages

             TIME NOT BILLED

05/30/2024   Communicate (with client): Discord conversation with         on 5-29 re       KI       0.20   $425.00      $85.00
             the three sets of documents produced by TOVE on 5-24 and the issues re
             potential doctoring of messages and DW scope of authority as it relates
             with       2022 Discord Msgs produced by OPC on 5.24

             TIME NOT BILLED


                                                                                                     Subtotal        $19,287.50




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                                                                                                                   INVOICE
                                                                                                                       Invoice # 2117
                                                                                                                    Date: 06/30/2024
                                                                                                                  Due On: 07/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                          Notes                                      Attorney Quantity    Rate       Total

 05/31/2024   Review/Analyze: Analysis of multiple correspondence from client and            KC           0.30   $625.00    $187.50
              preparation of responses re: "Accounting" cause of action, demand for
              payment and account balance

 05/31/2024   Time: Review LZ 5-31 response to OPC re failure to provide 2023                KI           0.10   $425.00     $42.50
              messages between TOVE x DW and TOVE x DW x Miles and forwarded
              to Client for viability

 05/31/2024   Communicate (with client): 5-31-24 Discussion with            and Mitch        KI           0.40   $425.00    $170.00
              on Discord re 5.30 after call summary re providing financials based on
              TOVE's discovery requests and meet and confer, including DW code on
              DW's new server

 06/03/2024   Larry Zerner Time Entry: Revised responses to discovery. Drafted letter        RO          16.90   $525.00   $8,872.50
              to Plaintiff's lawyer regarding motion to compel further responses.

              Review and revise responses to Request for Admissions and
              Interrogatories. Drafted letter to Plaintiff's lawyer regarding deficient
              discovery responses.

              Reviewed documents produced by TOVE. Drafted letter to TOVE's
              attorney re: the deficiencies in the discovery responses.

              Finalized and sent discovery responses.

              Reviewed and responded to emails from Plaintiff's lawyer. Reviewed new
              discovery served on Defendants.

              Reviewed subpoena to Discord. E-mail correspondence w/ client.
              Reviewed and responded to email from TOVE's lawyer regarding
              discovery dispute.

              Reviewed and revised Caresha Agreement.

              E-mail correspondence w/ Plaintiff's lawyer re: their insufficient discovery
              responses.




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             Prepared and attended meet and confer w/ Plaintiff's lawyer re:
             production of documents and responses to interrogatories.

             Email correspondence w/ client re: revised discovery responses.

             Telephone conference w/ John Begakis. Legal research re: contractual
             allegations.

             Reviewed emails from client re: DW's work. Research payments for Joint
             Authorship. Email correspondence w/ client re: damages.

             Reviewed new documents produced by TOVE.

             Drafted responses to new interrogatories and requests for documents
             sent to Mitch Clout.

             Email correspondence w/ client re: case strategy. Zoom call w/ MC to
             discuss case strategy.

             Email correspondence w/ opposing counsel re: outstanding discovery
             responses.

             Ref #197

06/04/2024   Paralegal Work: Make requested edits to RPG and ROG for KI review          KS       0.30   $325.00      $97.50

06/04/2024   Draft/Revise: Review Plaintiff discovery requests and initial responses,   KC       0.60   $625.00     $375.00
             prepare draft/recommendation for supplemental responses; prepare
             recommendations for client communication, including three proposed
             options for responding to discovery dispute and risks associated with
             each possible amended response

06/04/2024   Communicate (with client): Review and respond to              5-31 email   KI       0.20   $425.00      $85.00
             response with signed Verification Pages for Mitchell Clout x TOVE
             Discovery Responses, Set One, including request for financials
             production as requested by TOVE and emphasized by OPC in Meet and
             Confer with LZ

06/04/2024   Time: Draft substantive email with Partner (KC) to Client re "Discovery    KI       1.40   $425.00     $595.00
             Strategy Issues and Action Items" for financial production/request by
             TOVE and outlined all three options and risks associated for client to
             make decision/determination on financials production to TOVE as
             requested in ROG 15 and RPD 16; sent to client after partner approval re
             legal research on FRCP Rules

06/04/2024   Time: Updated 2 Verification Pages for RPDs + ROGs Supplemental            KI       0.10   $425.00      $42.50
             Responses based on Partner (KC) feedback

06/04/2024   Time: Review and provided substantive response to Mitch's 6-4 feedback     KI       0.60   $425.00     $255.00
             to financial discovery requested and options sent on 6.4

06/05/2024   Draft/Revise: Analysis of draft Supplemental Responses to RFP and          KC       0.60   $625.00     $375.00
             Special Interrogatories, prepare recommended edits to responses and
             objections for service on plaintiff

06/05/2024   Paralegal Work: Meet with KI re: Supplemental Set One Discovery            KS       0.50   $325.00     $162.50




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             Responses (RPD + ROG); Prepare and send Responses to opposing
             counsel

06/05/2024   Communicate (In Firm): Discussion with Partner (KC) re Discovery             KI       0.30   $425.00     $127.50
             Motions based on timing of LZ's follow up on TOVE's failure to produce
             requested documents, including Discord Messages after December 2022

06/05/2024   Draft/Revise: Draft Supplemental Responses to both RPDs and ROGs             KI       0.50   $425.00     $212.50
             based on financial revenue requests made by TOVE, including ROG#6
             explaining DW's alleged contributions to infrastructure based on Client's
             6.5 feedback/draft of the alleged contributions/work for the NP Server/
             Infrastructure

06/05/2024   Review/Analyze: Review Paralegal (KS) assembly of both sets of               KI       0.10   $425.00      $42.50
             Supplemental Responses to ROGs and RPDs; approved and provided
             instructions for email to Begakis to provide the Supp. Responses

06/06/2024   Review/Analyze: Review the substantial amount of Discord Messages            KI       0.20   $425.00      $85.00
             between DW and Koil sent by Koil on 6-6-24 via Discord in preparation of
             litigation x depositions x discovery; confirmed receipt to Client

06/06/2024   Legal Research: Legal Research re FRCP rules for Motion to Compel            KI       0.40   $425.00     $170.00
             discovery responses after meet and confer (TOVE lawsuit) per Partner
             (KC) 6.5 instructions

06/06/2024   Review/Analyze: Review legal research re: discovery cutoff and motion to     KC       0.40   $625.00     $250.00
             compel deadlines to timely follow up on meet and confer efforts with
             Plaintiff on documents and other discovery responses to preserve motion
             rights

06/07/2024   Time: Review and substantively respond to Begakis 6-3 follow up on           KI       0.30   $425.00     $127.50
             financial records discovery requests and provided follow up for LZ's 5-31
             request for TOVE x DW Discord messages; Partner (KC) reviewed and
             sent to Begakis

06/13/2024   Draft/Revise: Analysis of Begakis meet and confer letter, prepare detailed   KC       1.80   $625.00   $1,125.00
             response including addressing issues raised for Tove and asserting
             NoPixel issues to include reiterated demand for post 12/22
             correspondence before moving court; Discussion of additional
             modifications for Kat to make to finalize and send response (.4)

06/13/2024   Review/Analyze: Review with Partner (KC) OPC (Begakis) 6-12 response         KI       0.30   $425.00     $127.50
             re Supplemental Discovery Responses and Defendant's requested
             documents in preparation of providing response to Begakis

06/13/2024   Review/Analyze: Review with Partner (KC) the v1 draft response letter to     KI       0.70   $425.00     $297.50
             Begakis 6-12 response re Defendant's Supplemental Responses to
             ROGs and RPDs, including Plaintiff's refusal to provide Discord
             communications after December 13, 2022

06/14/2024   Review/Analyze: Review, edit and finalize formal response to Begakis         KC       0.50   $625.00     $312.50
             Meet and Confer letter to try and resolve discovery disputes without court
             motion/orders

06/14/2024   Draft/Revise: Revise Partner (KC) v1 draft of substantive response to        KI       1.40   $425.00     $595.00
             Begakis's 6-12 response re discovery responses, meet and confer and
             overall next steps in parties' failure to provide requested documents,
             incorporating Partner (KC) feedback from 6.13; sent to Partner (KC) for




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             review

06/14/2024   Communicate (In Firm): Discuss with Partner (KC) v2 draft of response to    KI       0.20   $425.00      $85.00
             OPC (Begakis) re Begakis 6.12 response re parties' contentions re
             discovery responses and suggested changes to ROG 6 section of
             response letter to Begakis

             PARTNER TIME NOT BILLED

06/14/2024   Time: Revise v3 draft with Partner (KC) and LZ changes and sent to          KI       0.70   $425.00     $297.50
             Begakis with Client on "bcc"

06/18/2024   Time: Review Client and Larry email thread re TOVE Expert Witness           KI       0.10   $425.00      $42.50
             Report and respond to           6-18 email re code expert list of
             referrals needed

06/20/2024   Communicate (Other External): Telephone with Zerner re: depositions,        KC       0.30   $625.00     $187.50
             demanding production of documents from plaintiff, possible MSJ motion,
             timeframe for discovery

06/20/2024   Time: Communicated with 4 potential expert witnesses for TOVE Counter       KI       0.40   $425.00     $170.00
             Report (Expert Counter)

06/20/2024   Communicate (other outside counsel): Call with Partner (KC) and Larry       KI       0.40   $425.00     $170.00
             Zerner re (i) expert witness search and communications, (ii) PayPal
             Subpoena, (iii) TOVE discovery obligations, specifically the December
             2022 to present Discord communications between TOVE x DW

06/20/2024   Communicate (Other External): Call with                       from          KI       0.20   $425.00      $85.00
                          re expert witness services

06/21/2024   Communicate (Other External): Call with                     for potential   KI       0.20   $425.00      $85.00
             expert witness services for TOVE lawsuit

06/21/2024   Communicate with potential expert witness               re: timing of       KC       0.10   $625.00      $62.50
             testimony and trial, deposition, costs

06/24/2024   Communicate (with client): Provide Mitch and             via Discord an     KI       0.10   $425.00      $42.50
             update re potential expert witnesses, specifically discussions with
                    and Chris .; sent Chris's CV to Mitch

06/24/2024   Communicate (In Firm): Call with Larry and Partner (KC) re potential        KI       0.50   $425.00     $212.50
             expert witnesses and settlement options to present to client

06/24/2024   Communicate (other outside counsel): Teleconference to discuss expert       KC       0.30   $625.00     $187.50
             report and retention of expert to prepare counter-report

06/25/2024   Communicate (with client): Call with Larry, Mitch and             re TOVE   KI       0.40   $425.00     $170.00
             litigation updates and next steps

06/26/2024   Communicate (with client): Review Begakis deposition requests and           KC       0.30   $625.00     $187.50
             prepare correspondence to client explaining percipient and PMK
             deposition requirements

06/26/2024   Communicate (Other External): Call with                     re TOVE         KI       0.70   $425.00     $297.50
             potential expert witness services

06/26/2024   Communicate (Other External): Review and substantively respond to           KI       0.10   $425.00      $42.50




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                              -26 email with the payment and account information for
             services payment including possible reduction to $650 hourly rate as
             approved by Clients.

06/26/2024   Communicate (Other External): Attend meeting with proposed expert to            KC       0.50   $625.00     $312.50
             discuss qualifications, scope of work, complaint, plaintiff expert report

06/26/2024   Communicate (Other External): Review Chris's 6-26 counter options               KI       0.10   $425.00      $42.50
             (option A and B) re expert witness rates for TOVE matter and forwarded
             to Clients for review; Received client's acceptance of option A and
             communicated same to                      with clients on copy to facilitate
             the payment and provide instructions to GitHub

06/27/2024   Communicate (with client): Review and substantively respond to Mitch's          KI       0.10   $425.00      $42.50
             6-27 response re important of expert (             )

Non-billable entries

06/04/2024   Time: Provide instructions to Paralegal to finalize TOVE x Mitchell             KI       0.20   $425.00      $85.00
             Discovery Responses with signed Verification Pages and edits to minor
             issues with LZ's drafted responses in RPDs; including reviewing final to
             send to Begakis/TOVE

             TIME NOT BILLED

06/04/2024   Communicate (In Firm): Discussion with Partner (KC) re finalized Mitchell       KI       0.10   $425.00      $42.50
             Clout x TOVE Discovery Responses and signed verification pages from
             Client on 5-31 and providing KS instructions to sending 2 sets of
             responses to Begakis/TOVE

             TIME NOT BILLED

06/04/2024   Communicate (In Firm): Discussion with Partner (KC) re Financial                KI       0.50   $425.00     $212.50
             Discovery Option 2 communicated by Mitch on 6.4.24 and next steps in
             supplemental responses to OPC (Begakis)

             TIME NOT BILLED

06/17/2024   Review/Analyze: Review Ps 6-17-24 Expert Report (William J. Francis)            KI       0.40   $425.00     $170.00

             TIME NOT BILLED

06/18/2024   Time: Discussed with Partner (RM) re code developer expert witness              KI       0.10   $425.00      $42.50
             recommendation and sent intro email to         ; calendared invite

             TIME NOT BILLED

06/18/2024   Communicate (Other External): Call with              re expert witness          KI       0.20   $425.00      $85.00
             services for TOVE lawsuit

             TIME NOT BILLED

06/18/2024   Communicate (with client): Provide clients via Discord the update on            KI       0.10   $425.00      $42.50
             compiling expert witness list for their review for counter report

             TIME NOT BILLED

06/20/2024   Communicate (with client): Provide via Discord to               and Mitch the   KI       0.10   $425.00      $42.50




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             TOVE status report re MoCo search for expert witness and Larry's email
             to Begakis re outstanding discovery + scheduling depositions

             TIME NOT BILLED

06/20/2024   Communicate (Other External): Email response to                     for        KI       0.10   $425.00      $42.50
             potential expert witness services due to 9/17 trial unavailability (for
             testifying to the report) with request for any referrals

             TIME NOT BILLED

06/20/2024   Communicate (Other External): Review and respond to                            KI       0.10   $425.00      $42.50
             6-20 after call summary re TOVE expert witness services and provided
             First Amended Complaint for next steps

             TIME NOT BILLED

06/20/2024   Communicate (with client): Review and respond to                6-20 Discord   KI       0.20   $425.00      $85.00
             Msgs re Begakis discovery updates and

             TIME NOT BILLED

06/21/2024   Communicate (Other External): Review and respond to                            KI       0.10   $425.00      $42.50
             (Potential Expert Witness) 6-21 email request of the Complaint & other
             related documents in order to assess whether he can take the job

             TIME NOT BILLED

06/24/2024   Time: Review                          Partner (KC) emails on 6-21,             KI       0.10   $425.00      $42.50
             including LZ's 6-21 response re trial requirements for expert witness and
             responded to                    6-22 email re scheduling call to discuss
             expert witness services

             TIME NOT BILLED

06/24/2024   Communicate (with client): Check in discord conversation with                  KI       0.10   $425.00      $42.50
             on 6-24 re communications between Tracey and Koil after 12/27/22

             TIME NOT BILLED

06/25/2024   Time: Review and respond to Chris M. (potential expert witness for TOVE        KI       0.10   $425.00      $42.50
             litigation) request for missing calendar invite; added Chris to KS calendar
             invite with confirmation of such to Chris

             TIME NOT BILLED

06/26/2024   Communicate (with client): Provide clients with update re potential expert     KI       0.20   $425.00      $85.00
             witness "                  " and sent depo dates provided by Begakis re
             PMK for Koil + Mitch himself; sent calendar invite for the proposed depo
             dates to clients; including sending messages about what number to
             reduce expert witness hourly rates to in response to                  6.26
             email

             TIME NOT BILLED.

06/26/2024   Communicate (In Firm): Discuss with Larry and Keith                            KI       0.10   $425.00      $42.50
             expert witness services and next steps/action items to clients re Chris's




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             retainer and hourly rate

             TIME NOT BILLED

06/26/2024   Communicate (Other External): Sent                      request for payment   KI       0.10   $425.00      $42.50
             details and account information for clients to directly pay him with
             confirmation of rates and retainer after call on 6.26

             TIME NOT BILLED


                                                                                                     Subtotal        $17,455.00




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                                                                                                             INVOICE
                                                                                                             Invoice # 2167
                                                                                                          Date: 07/26/2024
                                                                                                        Due On: 07/29/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

    Date                                        Notes                         Attorney Quantity       Rate         Total

 07/26/2024   Outside Counsel: SGK Service Inc. - Invoice 4948                VD           1.00    $25,525.00   $25,525.00

              Garry Kitchen

              6.75 7/9/24 Material review/analysis $ 650.00 $ 4,387.50
              1.25 7/10/24 Material review/analysis $ 650.00 $ 812.50
              0.75 7/12/24 Review/draft report $ 650.00 $ 487.50
              5.00 7/13/24 Review/analysis/draft report $ 650.00 $ 3,250.00
              6.00 7/14/24 Review/analysis/draft report $ 650.00 $ 3,900.00
              8.00 7/15/24 Review/analysis/draft report $ 650.00 $ 5,200.00
              5.75 7/16/24 Review/analysis/draft report $ 650.00 $ 3,737.50

              David Crane

              2.00 7/11/24 Material review/analysis $ 500.00 $ 1,000.00
              6.00 7/12/24 Material review/analysis $ 500.00 $ 3,000.00
              5.00 7/13/24 Material review/analysis $ 500.00 $ 2,500.00
              4.00 7/14/24 Material review/analysis $ 500.00 $ 2,000.00
              6.00 7/15/24 Material review/analysis $ 500.00 $ 3,000.00
              4.50 7/16/24 Material review/analysis $ 500.00 $ 2,250.00

              Application of initial retainer $ (10,000.00)
              -
              TOTAL $ 25,525.00

              SGK Service Inc.




                                                                                                  Subtotal      $25,525.00

                                                                                                     Total      $25,525.00

                                                                                   Payment (07/29/2024)         -$25,525.00




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                                                                                 Balance Owing            $0.00




             CNB-6245

             Chase-3516




Please note our new remittance information below. Effective immediately.

Please make all amounts payable to: Morrison Cooper LLP


Please pay within 3 days.




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                                                                                                                 INVOICE
                                                                                                                     Invoice # 2261
                                                                                                                  Date: 07/29/2024
                                                                                                                Due On: 08/28/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

 Services

    Date                                  Notes                                 Attorney Quantity    Rate     Discount     Total

 07/01/2024   Review/Analyze: Analysis of multiple correspondence from          KC           0.30   $625.00     15.0%     $159.37
              client inquiring into complaint allegation concerning data
              breach and whether discovery would be appropriate to
              pursue; review complaint and provide responses to clients re:
              causes of action and relevancy of factual allegations thereto

 07/01/2024   Communicate (other outside counsel): Telephone with Zerner        KC           0.20   $625.00     15.0%     $106.25
              re: Plaintiff discovery motion, coordination of deposition,
              PayPal documents, discovery documents to be reviewed by
              associate.

 07/01/2024   Review/Analyze: Analysis of proposed discovery stipulations       KC           0.30   $625.00     15.0%     $159.37
              on motion to compel to verify factual allegations of respective
              positions and provide recommendations

 07/02/2024   Larry Zerner Time Entry: Review Plantiff's expert report. E-      RO           4.30   $525.00          -   $2,257.50
              mail correspondence w/ client.

              Conference w/ client to discuss case.

              Prepare subpoena to Discord. Conduct meeting with expert
              witness to discuss case. Began preparing response to motion
              to compel documents

              Legal research regarding implied license and joint work.
              Review Deposition Notices. E-mail correspondence with client
              regarding case and deposition.

              Ref #207

 07/02/2024   Communicate (In Firm): Telephone with associate to discuss        KC           0.30   $625.00     15.0%     $159.37
              paypal records, evidentiary use and weight, plaintiff and
              paypal objections, preparation of summary




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07/02/2024   Review/Analyze: Review PayPal Transaction Ledger                  KI   0.40   $425.00    15.0%      $144.50
             produced by PayPal via Subpoena including additional
             documents (objections and declaration) produced by PayPal -
             highlighted relevant items for LZ review

07/02/2024   Time: Reviewed              7-2-24 feedback to MoCo v1            KI   0.40   $425.00    15.0%      $144.50
             Highlights to PayPal Transaction Ledger re Koil Content
             payments to DW PayPal Account and received Tebex x
             PayPal account number: 1720371200776169707 to identify in
             ledger as part of Koil payments to DW as PayPal was no
             longer in use to make payments to DW; provided the
             additional feedback in green to LZ for review

07/03/2024   Communicate (with client): Correspondence with client re:         KC   0.10   $625.00    15.0%       $53.12
             using notes at deposition and taking only PMK deposition and
             not personal deposition

07/03/2024   Legal Research: Analysis of 18 U.S. Code § 270 as cited by        KC   0.30   $625.00    15.0%      $159.37
             Discord in opposition to subpoena, review of code section
             exceptions to respond to Discord if any apply

07/03/2024   Communicate (Other External): Telephone from expert Chris         KC   0.80   $625.00    15.0%      $425.00
             to discuss content of report, communication with client, scope
             of report and rebuttal

07/09/2024   Review/Analyze: Review Conor's 7-9 findings re DW and AZ          KI   0.10   $425.00    15.0%       $36.12
             address possibilities and forwarded to        for review

07/09/2024   Communicate (Other External): Received                            KI   0.20   $425.00    15.0%       $72.25
             additional documents other than Repo Stats to be provided to
             Expert Garry Kitchen, including the Nopixel 3.0 Data Pull up
             to 2022,           x Nike Discord communications re Tebex,
             Tebex x DW Commits explanation re payment processing
             system - sent all 5 documents to Garry Kitchen

07/10/2024   Time: Review Garry's 7-10 requests (Repo Stats source code        KI   0.20   $425.00    15.0%       $72.25
             and David Crane GitHub access) and substantively respond
             with receipt and instructions to client (   ) to provide
             requested access + code

07/10/2024   Time: Received              7-10 confirmation that GitHub         KI   0.10   $425.00    15.0%       $36.12
             access provided to David Crane with confirmation email to
             David, including status of Client's production of the requested
             repo stats source code request

07/10/2024   Time: Received Garry's 7-10 confirmation that David Crane         KI   0.10   $425.00    15.0%       $36.12
             received access and provided Gary w/ the repo stats source
             code files, including "readme" file link from Client (   )
             with instructions in accessing files per Client

07/11/2024   Time: Saved the clanny PayPal Invoices provided by Mitch on       KI   0.20   $425.00    15.0%       $72.25
             7-10-24 via Discord and sent those saved PayPal invoices to
             LZ, including an explanation of DWDW name change
             relevance to that PayPal email address and NP TOS
             acceptance as mentioned in February 10 response letter to
             OPC (Begakis) in prep of 7.11 depo of DW




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07/11/2024   Appear For/Attend: Attend TOVE x Danney Tracy Deposition            KI   5.00   $425.00    15.0%     $1,806.25

07/12/2024   Time: Received and compiled Mitch's 7-11 Discord Msgs and           KI   0.40   $425.00    15.0%      $144.50
             questions for Larry after DW 7.11 Deposition, including
             GitHub ToS and Alex x DW GitHub access communications
             for DW's personal GitHub repo access so that LZ can
             provided answers for Mitch (5 questions)

07/14/2024   Communicate (Other External): Received Expert Garry's 7/14          KI   0.10   $425.00    15.0%       $36.12
             request to gain access to DW's Repo per TOVE's expert
             report provided on 6.17 and looped LZ to Garry's email to
             request the same from OPC (Begakis)

07/15/2024   Time: Reviewed Begakis 7.15 response to Larry's 7/14 DW             KI   0.10   $425.00    15.0%       $36.12
             GitHub Access Request per Garry's 7/14 email and the
             Expert Witness (Garry Kitchen) findings from TOVE's Expert
             Witness June 17th report; requested confirmations from Garry
             re both his and David Crane's emails to provide to OPC per
             OPC request so that DW can provide access (read me
             access)

07/15/2024   Time: Review             7.12 Zip File re Alex x DW Msgs re         KI   0.10   $425.00    15.0%       $36.12
             DW GitHub Granted Access (to NoPixel by and through Alex)
             and forwarded to Larry for review with clients on copy

07/15/2024   Communicate (In Firm): Call with LZ re DW GitHub access,            KI   0.30   $425.00    15.0%      $108.37
             Garry Kitchen's expert services and rebuttal report, and the
             joint stipulation for extending trial with Begakis in prep of MSJ
             and expert rebuttal report

07/15/2024   Review/Analyze: Review Garry Kitchen 7-15-24 v1 draft of            KI   0.30   $425.00    15.0%      $108.37
             Expert Rebuttal Report and sent to         via Discord for
             review; responded to Garry with feedback as well

07/16/2024   Time: Discussion with Mitch via Discord on 7-16 re any              KI   0.20   $425.00    15.0%       $72.25
             potential depositions; review scheduling with OPC (Begakis)
             and sent email to LZ to confirm after seeing no confirmed
             date for individual Depo for Mitch with Mitch on copy; received
             and reviewed LZ feedback to Mitch's question

07/18/2024   Paralegal Work: Draft Subpoena for LZ review                        KS   0.20   $325.00    15.0%       $55.25

07/24/2024   Communicate (In Firm): Discuss with Partner (KC) TOVE's             KI   0.30   $425.00    15.0%      $108.37
             Expert Addendum dated on 7-24 and Jackson Lewis
             Immigration Documents/Information request/next steps

Non-billable services

07/01/2024   Communicate (other outside counsel): Review and respond to          KI   0.10   $425.00          -     $42.50
             Larry's 7-1 email request to (1) notate relevant facts/details
             from TOVE x DW Discord conversations and (2) PayPal
             production; forwarded the #1 task to LZ from May 30th
             (Completed)

             TIME NOT BILLED

07/02/2024   Review/Analyze: Review KOIL PMK Declaration version 2               KI   0.10   $425.00          -     $42.50
             drafted by LZ sent to client for review/execution




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             TIME NOT BILLED

07/02/2024   Communicate (In Firm): Discuss with Partner (KC) PayPal           KI   0.20   $425.00          -     $85.00
             findings from PayPal x DW Transaction Ledger produced by
             PayPal

             TIME NOT BILLED

07/03/2024   Communicate (In Firm): Review and respond to Partner (KC)         KI   0.10   $425.00          -     $42.50
             request for color-code legend provided by          in March
             2024 (provided all docs to KC), to provide the Rebuttal Expert
             Witness deadline date (w/ LZ confirmation needed), and
             proposed communication MoCo team and Expert Witness
             Chris Mattman

             TIME NOT BILLED

07/03/2024   Review/Analyze: Review Joint Stipulation Motion to Compel         KI   0.20   $425.00          -     $85.00
             Version 3, 4 and 5 prepared by both LZ and OPC (Begakis),
             including Declarations

             TIME NOT BILLED

07/09/2024   Time: Per Partner (KC) obtain new expert witness per Chris        KI   6.40   $425.00          -   $2,720.00
             Mattman quitting on 7-9-24 (interviewed

                                      ); Sent NDA to Garry Kitchen for
             services; Sent J                   confirmation re receipt of
             rates and services agreement; forwarded to Client and
             accepted Garry Kitchen rate per Client's (            7-9
             Approval; call with Annegre re expert approval + documents
             provided in prep of expert's rebuttal report; forwarded invoice
             to Vero from Garry Kitchen

             (TIME NOT BILLED)

07/10/2024   Communicate (Other External): 7-10-24 Call with                   KI   0.10   $425.00          -     $42.50
             re Expert Witness Services

             TIME NOT BILLED

07/10/2024   Communicate (Other External): 7-10-24 Call with                   KI   0.10   $425.00          -     $42.50
                      re Expert Witness Services

             TIME NOT BILLED

07/11/2024   Communicate (Other External): Call with                           KI   0.10   $425.00          -     $42.50
             (expert witness) re not proceeding with his firm's services per
             7.9 call and email

             TIME NOT BILLED

07/12/2024   Appear For/Attend: Depo of JK (PMK for TOVE)                      KI   2.00   $425.00          -    $850.00

             TIME NOT BILLED




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     Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24                   Page 95 of 113 Page
                                                      ID #:1160                                        Invoice # 2261 - 07/29/2024




07/12/2024   Communicate (In Firm): Provided Garry expert request for      KI               0.10   $425.00            -     $42.50
             DW GitHub access per Annegre 7-12 reminder to LZ for
             feedback

             TIME NOT BILLED

07/12/2024   Time: Review LZ 7-12 substantive feedback to Mitch's 7.11     KI               0.10   $425.00            -     $42.50
             questions sent on 7.12 with PDF of screenshots of GitHub
             ToS per LZ request for review

             TIME NOT BILLED

07/16/2024   Communicate (Other External): Review and substantively        KI               0.10   $425.00            -     $42.50
             respond to Chris Mattmann's 7-16 confirmation that wire
             payment reflected to leave his account and into firm's


             TIME NOT BILLED

07/24/2024   Review/Analyze: Review TOVE's Expert's 7-24-24 Addendum       KI               0.30   $425.00            -    $127.50
             to Expert Report (specifically re ToS acceptance/
             mechanisms)

             TIME NOT BILLED

                                                                                   Line Item Discount Subtotal             -$767.32

                                                                                              Services Subtotal           $6,605.18



Expenses

  Date                                       Notes                                     Attorney Quantity       Rate         Total

07/02/2024   Outside Counsel: Delivery Service Fee - Delivery of subpoena to Discord   RO              1.00    $41.17       $41.17

                                                                                             Expenses Subtotal              $41.17


                                                                                                       Subtotal           $6,646.35




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      Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24                 Page 96 of 113 Page
                                                        ID #:1161



                                                                                                                 INVOICE
                                                                                                                     Invoice # 2398
                                                                                                                  Date: 08/29/2024
                                                                                                                Due On: 09/28/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

 Services

    Date                                  Notes                                Attorney Quantity    Rate     Discount     Total

 06/05/2024   Time: Review with Partner (KC) the v1 draft of the               KI           0.60   $425.00          -     $255.00
              Supplemental Responses to both the ROGs and RPDs re
              financial revenue requests and DW alleged "contributions" to
              NP Infrastructure; finalized drafts and sent to Paralegal (KS)
              to assemble with the documents index to produce to OPC
              (Begakis)

 08/01/2024   Larry Zerner Time Entry: 7/1/2024                                RO          41.80   $525.00          -   $21,945.00
              Review DW Paypal documents; E-mail correspondence with
              Plaintiff's lawyer regarding depositions; Prepare Response to
              Motion to Compel documents; Prepare declaration for Mitch
              Clout
              Qty: 3.60, Rate: $525.00

              7/2/2024
              Revise and finish Motion to Compel and Clout Declaration; E-
              mail correspondence with Begakis regarding depositions.
              Qty: 1.00, Rate: $525.00

              7/3/2024
              Review and Revise motion to compel documents. E-mail
              correspondence with client regarding Australian copyright law;
              E-mail correspondence with Australian lawyer regarding
              possible lawsuit against DW
              Qty: 0.40, Rate: $525.00

              7/8/2024
              Prepare for deposition of Daniel Tracey and TOVE;
              Telephone conference with Australian lawyer regarding suing
              DW. Telephone conference with Mitch to prepare him for
              deposition.
              Qty: 3.10, Rate: $525.00




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Case 2:23-cv-02687-SVW-JC                Document 75-2 Filed 11/07/24   Page 97 of 113 Page
                                               ID #:1162                     Invoice # 2398 - 08/29/2024




    7/9/2024
    Prepare questions for DW and TOVE Depositions; Defend
    Mitch's deposition.
    Qty: 7.00, Rate: $525.00

    7/10/2024
    Draft questions for Tracey and TOVE's deposition
    Qty: 5.00, Rate: $525.00

    7/11/2024
    Prepare for and take Danny Tracey's deposition Prepare for
    TOVE Deposition
    Qty: 7.80, Rate: $525.00

    7/12/2024
    Legal Research regarding Joint Work; Prepare for and take
    Jacques Khalil's deposition
    Qty: 4.90, Rate: $525.00

    7/14/2024
    Draft letter to TOVE's lawyer regarding failure to provide
    access to Danny's Github.
    Qty: 0.30, Rate: $525.00

    7/15/2024
    Read and respond to email from Plaintiff's lawyer regarding
    discovery. Telephone conference with Garry Kitchen (Expert
    Witness). Telephone conference with John Bugakis; E-mail
    correspondence with Client regarding moving trial date.
    Qty: 2.80, Rate: $525.00

    7/16/2024
    Review Expert Report; Telephone conference with Expert
    regarding changes to report. Prepare Oppoiition to Motion to
    Compel documents
    Qty: 2.00, Rate: $525.00

    7/19/2024
    Review order from court denying stipulation to continue trial.
    Conference with Keith to discuss options; Conference with
    Mitch to discuss options.
    Qty: 0.50, Rate: $525.00

    7/22/2024
    Review motion to continue trial. E-mail correspondence with
    Plaintiff's lawyer regarding motion to quash subpoena to
    Immigration attorneys
    Qty: 0.50, Rate: $525.00

    7/23/2024
    Travel to and attend meet and confer to discuss motion for
    summary judgment and Motion to Quash subpoena for
    Immigration records
    Qty: 1.50, Rate: $525.00




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                                                        ID #:1163                                Invoice # 2398 - 08/29/2024




             7/24/2024
             Review Supplemental Expert Report. E-mail correspondence
             with Client
             Qty: 0.20, Rate: $525.00

             7/26/2024
             Review order of court. Review TOVE deposition transcript;
             Telephone conference with Expert; Telephone conference
             with Mitch
             Qty: 0.70, Rate: $525.00

             7/31/2024
             Review supplemental expert report; E-mail correspondence
             with Expert; Prepare deposition Notice
             Qty: 0.50, Rate: $525.00

             Qty: 41.8, Rate: $525.00, Total: $21,945.00

             Ref #213

08/05/2024   Appear For/Attend: Appear for TOVE William J. Francis              KI   1.80   $425.00   100.0%         $0.00
             Deposition

             TIME NOT BILLED

08/12/2024   Communicate (with client): Call with Larry re research matter:     KI   0.30   $425.00          -     $127.50
             Common Interest Doctrine re AC privilege and TOVE
             Privilege Log referencing JK x DW Discord Msgs after 2022

08/12/2024   Legal Research: Research FRCP 26(b)(5) and Common                  KI   2.50   $425.00          -   $1,062.50
             Interest Doctrine under all relevant federal courts, including
             9th Cir for challenging redacted/privileged material by TOVE -
             sent findings to LZ for review

08/13/2024   Review/Analyze: Analysis of Plaintiff and No Pixel Expert          KC   2.30   $625.00          -   $1,437.50
             Reports, analysis of Plaintiff MSJ, telephone with Zerner re:
             content of motion and division of labor for responding to
             motion, and multiple communications with client, all for
             preparation of Opposition to Motion for Summary Judgment

08/14/2024   Draft/Revise: Prepare initial draft of Separate Statement of       KC   4.90   $625.00          -   $3,062.50
             Undisputed Facts in Opposition to Plaintiff's Motion for
             Summary Judgment

08/15/2024   Draft/Revise: Complete preparation of initial draft of response    KC   1.80   $625.00          -   $1,125.00
             to Plaintiff Separate Statement for MSA Opposition

08/15/2024   Paralegal Work: Make formatting edits to Statement of Facts        KS   1.80   $325.00          -     $585.00
             and finalize document for KC and LZ review

08/16/2024   Draft/Revise: Prepare Clout Declaration in support of MSA          KC   2.30   $625.00          -   $1,437.50
             opposition, following review of opposition brief and citation to
             needed testimony

08/16/2024   Paralegal Work: Format and finalize Mitchell Clout declaration     KS   0.30   $325.00          -      $97.50
             for KC and LZ review




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     Case 2:23-cv-02687-SVW-JC                    Document 75-2 Filed 11/07/24                 Page 99 of 113 Page
                                                        ID #:1164                                       Invoice # 2398 - 08/29/2024




08/16/2024   Time: Review and discuss on Discord with            the            KI          0.10   $425.00            -      $42.50
             forwarded US Dept of Labor response re DW x TOVE Labor
             Complaint, including Mitch's email re it ("No Reasonable
             Cause" Ltr)

08/19/2024   Revise Declarations for Kitchen and Clout; make requested          KS          0.40   $325.00            -     $130.00
             edits; send to LZ for review

08/19/2024   Review/Analyze: Review second draft of opposition, prepare         KC          1.70   $625.00            -    $1,062.50
             edits to Kitchen declaration, compare evidence, telephone call
             with Begakis re: objections to submitting Application in
             support of Visa, review of evidence for final submission to
             court

08/26/2024   Time: Review USCIS document request by Clients via                 KI          0.50   $425.00            -     $212.50
             Discord and provided substantive info and documents to
             Clients via Discord re signature authentication of Mitch on
             USCIS 10-17 letter and strengths/risks/cons for this argument
             (USCIS Ltr x Mitch signature)

08/26/2024   Analysis of 120 messages re: letter to US Immigration,             KC          0.40   $625.00            -     $250.00
             signature authenticity and facts, review letter, prepare opinion
             on relevancy to issues presently before the court in MSA

Non-billable services

08/19/2024   Review/Analyze: Review P's MSJ Filing; D's 8-19-24                 KI          0.70   $425.00            -     $297.50
             Opposition and Client (Mitch) Declaration (signed on 8-19)

             TIME NOT BILLED

                                                                                     Line Item Discount Subtotal            -$765.00

                                                                                               Services Subtotal          $32,832.50



Expenses

  Date                                         Notes                                   Attorney Quantity       Rate          Total

08/01/2024   Outside Counsel: 7/16/2024                                                RO             1.00    $126.10       $126.10
             Fedex to Department of Labor
             $38.59

             7/18/2024
             Send Subpoena to the Immigration Law Firm that handled Danny's
             Immigration
             $87.51

             Ref #213

08/01/2024   Deposition Transcripts: Kennedy Court Reporters, Inc                      VD             1.00   $1,020.25     $1,020.25

             07-09-24 CERTIFIED COPY OF TRANSCRIPT OF:

             PMK for Koil Content - Expert 217.00 Pages @ 3.750 813.75
             Digital Transcript Package 1.00 @ 55.000 55.00




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    Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24     Page 100 of 113 Page
                                                      ID #:1165                          Invoice # 2398 - 08/29/2024




             Reporter Certificate 1.00 Pages @ 45.000 45.00
             B&W Exhibit 90.00 @ 0.350 31.50
             Color Exhibits 54.00 @ 0.500 27.00
             Handling 1.00 @ 48.000 48.00

             Total Invoice: $1,020.25

             Ref #214

08/01/2024   Deposition Transcripts: Veritext, LLC - California Region     VD          1.00   $2,970.00    $2,970.00
             Depostion Invoice of 07-11-24
             Witness: Daniel Tracey Amount

             Transcript Services $1,663.70
             Professional Attendance $707.50
             Exhibits $33.80
             Processing & Electronic Files $160.00
             Virtual Services $295.00
             Over 100 Transcript Pages $110.00

             Invoice Total: $2,970.00

             Ref #215

08/01/2024   Deposition Transcripts: Veritext, LLC - California Region     VD          1.00   $1,929.20    $1,929.20
             Depostion Invoice of 8/5/2024
             Witness: William Francis Amount

             Transcript Services $647.70
             Transcript Services - Priority Request $586.50
             Professional Attendance $185.00
             Logistics, Processing & Electronic Files $160.00
             Virtual Services $295.00
             Smart Summary - Under 100 Transcript Pages $55.00

             Invoice Total: $1,929.20

             Ref #217

                                                                                Expenses Subtotal          $6,045.55


                                                                                         Subtotal         $38,878.05




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     Case 2:23-cv-02687-SVW-JC                      Document 75-2 Filed 11/07/24                       Page 101 of 113 Page
                                                          ID #:1166



                                                                                                                        INVOICE
                                                                                                                            Invoice # 2559
                                                                                                                         Date: 09/30/2024
                                                                                                                       Due On: 10/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
No ixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

 Services

    Date                                          Notes                                          Attorney Quantity    Rate       Total

 08/29/2024   Review/Analyze: Review Plaintiff's Complaint and MSJ, declarations of              KC           4.20   $625.00    $2,625.00
              Kitchen and Francis, opposition to MSJ and commence preparation of
              Defendants' Motion for Summary Judgment, including facts in support
              thereof, revised chronology to fit proposed MSJ arguments

 08/30/2024   Draft/Revise: Prepare initial draft of Defendant MSJ including legal               KC           2.60   $625.00    $1,625.00
              arguments for requires standard, brief research on defense MSJ against
              declaratory relief claims, and drafting of initial argument on Plaintiff's First
              Cause of Action for Declaratory Relief and judgment against same

 09/02/2024   Draft/Revise: Prepare updated Motion for Summary Judgment to include               KC           2.10   $625.00    $1,312.50
              argument on all three causes of action and requested disposition. Update
              arguments on each element to include facts.

 09/03/2024   Larry Zerner Time Entry: 8/2/24 - Prepare for Expert Witness deposition            RO          30.70   $525.00   $16,117.50
              of Bill Francis; Telephone conference with Mitch regarding deposition.
              Hours: 1.2

              8/3/24 - Review documents produced by Plaintiff's expert. Hours: .3

              8/5/24 - Take Bill Francis' deposition. Hours: 2.4

              8/6/24 - Work on Opposition to Motion for Summary Judgment. Hours: .9

              8/8/24 - Read and respond to emails from client regarding discovery and
              financials. Hours: .3

              8/9/24 - Review and produce financial documents. E-mail
              correspondence with client; Review Plaintiff's motion for protective order
              regarding attorney immigration documents. Hours: 1.0

              8/12/24 - Review Documents produced by Plaintiffs; Research Common
              Interest Defense; Continue drafting Opposition to Motion for Summary




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                                                       ID #:1167                                     Invoice # 2559 - 09/30/2024




             Judgment. Hours: 1.6

             8/14/24 - Continue drafting Opposition to Motion for Summary Judgment;
             Telephone conference with Plaintiff''s counsel. Hours: 7.0

             8/15/24 - Continue work on Opposition to MSJ. Hours: 4.6

             8/16/24 - Continue work on Opposition to Motion for Summary Judgment.
             Hours: 1.8

             8/17/24 - Revise Mitch Clout Declaration. Hours: .2

             8/19/24 - Finalize and file opposition to motion for summary judgment.
             Draft opposition to motion to quash subpoena. Hours: 6.7

             8/20/24 - Continue work on Opposition to Motion to Quash. Hours: 2.3

             8/26/24 - Review Plaintiff's Reply Brief to Motion for Summary Judgment.
             Hours: .4

09/03/2024   Draft/Revise: Prepare Separate Statement of Facts and revise Motion for      KC        5.90   $625.00   $3,687.50
             Summary Judgment to match Separate Statement; include additional
             factual arguments in brief

09/11/2024   Time: Review and redline v2 draft of NoPixel MSJ prepared by Partner         KI        0.40   $425.00     $170.00
             (KC); sent to Partner and LZ

09/11/2024   Review/Analyze: Review NoPixel Separate Statement of Facts (both             KI        0.20   $425.00      $85.00
             versions) prepared by Partner (KC)

09/17/2024   Review/Analyze: Review motion, USMF and declarations in support of           KC        0.70   $625.00     $437.50
             MSJ with paralegal for preparation of adding evidence and filing MSJ

09/18/2024   Paralegal Work: Prepare Motion for Summary Judgment for KC/LZ                KS        3.00   $325.00     $975.00
             review

09/19/2024   Paralegal Work: Make additional edits and finalize client and LZ's           KS        0.70   $325.00     $227.50
             declaration, Statement of Undisputed facts, and MSJ for LZ/KC review

09/19/2024   Review/Analyze: Review updated USMF and Clout declaration for                KC        0.50   $625.00     $312.50
             updating MSJ with evidence and adjustments to statement of facts in
             brief

09/19/2024   Review/Analyze: Review revised MSJ and Larry's additions thereto,            KC        0.80   $625.00     $500.00
             approve Points & Authorities

Non-billable services

09/10/2024   Time: Review Joint Stipulation between OPC (Begakis) and Larry re            KI        0.30   $425.00     $127.50
             Immigration Motion to Quash, including Larry's substantive response re
             OPC to dismiss claim and communicated with             on Discord re this
             litigation update

             TIME NOT BILLED

09/16/2024   Review/Analyze: Review Benjamin Lau finalized Declaration and Larry's        KI        0.20   $425.00      $85.00
             email with the finalized and filed Joint. Stipulation with Judge Chooljian




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    Case 2:23-cv-02687-SVW-JC                   Document 75-2 Filed 11/07/24     Page 103 of 113 Page
                                                      ID #:1168                          Invoice # 2559 - 09/30/2024




             TIME NOT BILLED

                                                                                 Services Subtotal         $28,075.00



Expenses

  Date                                        Notes                        Attorney Quantity     Rate         Total

09/03/2024   Outside Counsel: Expert Witness Fee - Flat Fee                RO           1.00    $300.00      $300.00

             Ref #221

09/08/2024   Experts: SGK Service Inc. - Invoice 4961                      VD           1.00    $650.00      $650.00

             8/14/24
             Call with attorney
             Time: 0.25, Rate: $650.00, Total: $162.50

             8/19/24
             Review and signing of second declaration
             Time: 0.75, Rate: $650.00, Total: $487.50$

             Invoice Total: $650.00

             Ref #222

09/25/2024   Deposition Transcripts: Veritext, LLC - California Region     VD           1.00   $1,337.52    $1,337.52
             Depostion Invoice of 7/12/24

             Witness: PMK That One Video Entertainment Jacque Khalil

             Transcript Services $603.25
             Professional Attendance $185.00
             Exhibits - $19.50
             Logistics, Processing & Electronic Files $160.00
             Virtual Services - $295.00
             Smart Summary - Under 100 Transcript Pages $55.00

             Invoice Total: $1,337.52

             Ref #228

                                                                                Expenses Subtotal           $2,287.52


                                                                                          Subtotal         $30,362.52




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     Case 2:23-cv-02687-SVW-JC                Document 75-2 Filed 11/07/24                 Page 104 of 113 Page
                                                    ID #:1169                                       Invoice # 2559 - 09/30/2024




Remittance Advice

Wire Transfer Information




Please provide adequate payment to cover the wire fees assessed by your financial institution.
Please email accounting@morrisoncooper.com with a confirmation number once the wire has been initiated and include the invoice
number 2559 as an additional reference so we may accurately identify and apply your payment.




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Case 2:23-cv-02687-SVW-JC                 Document 75-2 Filed 11/07/24                      Page 105 of 113 Page
                                                ID #:1170



                                                                                                      INVOICE
                                                                                                          Invoice # 141
                                                                                                       Date: 10/31/2024
                                                                                                     Due On: 11/30/2024
 15303 Ventura Blvd., 9th Floor
 Sherman Oaks, CA 91403
 Email: info@ci-lawgroup.com


 Nopixel Studios PTY LTD

 Nopixel Studios PTY LTD - TOVE Litigation

 TOVE Litigation

     Date                             Notes                               Attorney        Quantity     Rate     Total

  10/02/2024   Draft/Revise: Prepare summary of litigation, MSJ,       Keith Cooper          0.20    $350.00    $70.00
               trial preparation and recommendations for
               discussion to discuss possible sanctions

               TIME REDUCED FROM .4 TO .2

  11/01/2024   Draft/Revise: Commence preparation of Motion for        Keith Cooper          1.50    $350.00   $525.00
               Attorney Fees (prepare initial statement of facts,
               and initial portion of legal authority for fees under
               U.S. Copyright Act).

               TIME REDUCED FROM 2.0 TO 1.5

  Non-billable entries

  10/04/2024   Communicate (w Client): Call with Mitchell,             Katayoon Iravani      0.30    $350.00   $105.00
                          , Larry and Partner (KC) re next steps for
               litigation

               TIME NOT BILLED

  10/16/2024   Communicate (w Client): Review and forward              Katayoon Iravani      0.20    $350.00    $70.00
               Larry x Begakis updates re TOVE MSJ and
               potential settlement to Client with discussion via
               Discord as to Mitch's options

               TIME NOT BILLED

  10/17/2024   Time: Review and Forward to Client (       ) the        Katayoon Iravani      0.10    $350.00    $35.00
               LZ 10-17 response to OPC (Begakis) attorneys'
               fees and costs reimbursement in potential
               stipulation related to MSJ

               TIME NOT BILLED

  10/24/2024   Time: Reviewed Court's entered order on 10-24           Katayoon Iravani      0.10    $350.00    $35.00
               and discussed with client via Discord; removed




                                                       Page 1 of 6
Case 2:23-cv-02687-SVW-JC          Document 75-2 Filed 11/07/24   Page 106 of 113 Page
                                         ID #:1171                 Invoice # 141 - 10/31/2024




           upcoming hearing dates from calendar

           TIME NOT BILLED


                                                                  Subtotal         $595.00




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Case 2:23-cv-02687-SVW-JC                Document 75-2 Filed 11/07/24                    Page 107 of 113 Page
                                               ID #:1172                                   Invoice # 141 - 10/31/2024




 Remittance Advice

  Wire Transfer Information

  Bank Name/Address:




                           Please provide adequate payment to cover the wire fees assessed by your financial
                           institution. Please email info@ci-lawgroup.com with a confirmation number once the
                           wire has been initiated.

 Please include the invoice number 141 as an additional reference so we may accurately identify and apply your
 payment.

 Please provide adequate payment to cover the wire fees assessed by your financial institution.




                                                     Page 5 of 6
     Case 2:23-cv-02687-SVW-JC                    Document 75-2 Filed 11/07/24                Page 108 of 113 Page
                                                        ID #:1173



                                                                                                                  INVOICE
                                                                                                                   Invoice # 2658
                                                                                                                Date: 10/31/2024
                                                                                                              Due On: 11/30/2024
Morrison Cooper LLP
10900 Wilshire Blvd. Suite 930
Los Angeles, CA 90024


Mitchell Clout
Nopixel Studios PTY LTD




Mitchell Clout - Hourly - Tove v. NoPixel Litigation

 Services

    Date                                         Notes                                  Attorney Quantity     Rate       Total

 10/15/2024   Larry Zerner Time Entry: 9/4/24 - .6 hrs - Revise Motion for MSJ          RO           9.50    $525.00   $4,987.50

              9/5/24 - .3 hrs - File response to Plaintiff's objections; E-mail
              correspondence with Plaintiff's counsel regarding motions and
              depositions

              9/9/24 - 2.9 hrs - Prepare for and attend hearing on Motion for Summary
              Judgment

              9/10/24 - 1.1 hrs - E-mail correspondence with Opposing Counsel
              regarding dismissing case. Continue preparing Motion for Summary
              Judgment; Revise Joint Statement to Court regarding Motion for
              protective order.

              9/11/24 - 1.5 hrs - Continue work on Motion for Summary Judgement

              9/16/24 - 1.1 hrs - Continue drafting Motion for Summary Judgment.

              9/18/24 - 2.0 hrs- Continue drafting Motion for Summary Judgment

                                                                                              Services Subtotal        $4,987.50



 Expenses

    Date                                         Notes                                  Attorney Quantity     Rate       Total

 10/15/2024   Other Professionals: Larry Zerner Court Parking Fee                       RO            1.00    $18.00     $18.00

                                                                                             Expenses Subtotal           $18.00




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     Case 2:23-cv-02687-SVW-JC                  Document 75-2 Filed 11/07/24   Page 109 of 113 Page
                                                      ID #:1174                      Invoice # 2658 - 10/31/2024




                                                                                     Subtotal        $5,005.50

                                                                                        Total        $5 005.50




Please note our new remittance information below. Effective immediately.

Please make all amounts payable to: Morrison Cooper LLP


Please pay within 30 days.




                                                            Page 2 of 4
     Case 2:23-cv-02687-SVW-JC                Document 75-2 Filed 11/07/24                 Page 110 of 113 Page
                                                    ID #:1175                                       Invoice # 2658 - 10/31/2024




Remittance Advice

Wire Transfer Information




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Please email accounting@morrisoncooper.com with a confirmation number once the wire has been initiated and include the invoice
number 2658 as an additional reference so we may accurately identify and apply your payment.




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            Case 2:23-cv-02687-SVW-JC                               Document 75-2 Filed 11/07/24                 Page 111 of 113 Page
                                                                          ID #:1176




         Law Office of Larry Zerner                                                                                                  INVOICE
          1801 Century Park East                                                                                 Number                                3985
          Suite 2400
                                                                                                                 Issue Date                        11/1/2024
          Los Angeles, CA 90067
          USA                                                                                                    Due Date                         11/16/2024

                                                                                                                 Matter          212421575 - NoPixel v. TOVE
          larry@zernerlaw.com
          www.Zernerlaw.com                                                                                      Email
          O: (310) 773-3623



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                                                                                                                                              Pay Now
         NoPixel




         Time Entries

          Time Entries                                                             Billed By             Rate               Hours                      Sub

          10/2/2024                                                                LARRY ZERNER        $525.00                0.50                  $262.50
          Draft Reply Brief


          10/4/2024                                                                LARRY ZERNER        $525.00                0.60                  $315.00
          Research obtaining attorney's fees after judgment; Telephone
          conference with Client regarding case status.


          10/15/2024                                                               LARRY ZERNER        $525.00                0.20                  $105.00
          E-mail correspondence with Plaintiff's lawyer regarding stipulating to
          judgment


          10/18/2024                                                               LARRY ZERNER        $525.00                0.80                  $420.00
          Prepare and file Stipulation and Order for Summary Judgment


          10/28/2024                                                               LARRY ZERNER        $525.00                1.00                  $525.00
          Begin drafting motion for Attorney's fees.


          10/30/2024                                                               LARRY ZERNER        $525.00                0.20                  $105.00
          Conduct mandatory meet and confer with opposing counsel to discuss
          Motion for Attorney's fees.


                                                                                                  Time Entries                3.30                $1,732.50
                                                                                                         Total




                                                                                                                Total (USD)                      $1,732.50

                                                                                                                          Paid                        $0.00

                                                                                                                   Balance                       $1,732.50




                                                                                                                                              Pay Now




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